Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 1 of 86   PageID #:
                                   3998


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI`I

                                   )
N.K. Collins, LLC,                 )
                                   )
            Plaintiff,             )
                                   )
      v.                           )       Civ. No. 19-00386 ACK-RT
                                   )
William Grant & Sons, Inc.,        )
William Grant & Sons, Ltd.,        )
and Does 1-10,                     )
                                   )
            Defendants.            )
                                   )

  ORDER GRANTING DEFENDANTS’ MOTIONS FOR PARTIAL SUMMARY JUDGMENT
   AND JUDGMENT ON THE PLEADINGS, AND DENYING DEFENDANTS’ MOTION
                        FOR SUMMARY JUDGMENT

            Norman Keith Collins was a renowned tattoo artist,

known as “Sailor Jerry,” who lived and worked in Hawaii until

his death in 1973.      First Amended Complaint, ECF No. 82

(“Compl.”), ¶¶ 1, 10, 16.       This case is substantially about who

now has the right to use his name, image, and artwork (the

“Sailor Jerry IP”).      Defendants are two companies that have been

using the Sailor Jerry IP for years to market the product

“Sailor Jerry rum” and other related merchandise.           Compl. ¶ 1.

Plaintiff is an organization consisting of Sailor Jerry’s heirs,

who argue that they have an exclusive legal interest in the

Sailor Jerry IP under the 2009 Hawaii Publicity Rights Act and

under the common law.      Compl. ¶ 1.     Plaintiff brought this




                                       1
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 2 of 86   PageID #:
                                   3999


lawsuit against Defendants alleging that Defendants’ use of the

Sailor Jerry IP violates the heirs’ exclusive interest.

            Defendants now seek dismissal of each of the claims

against them, arguing that (1) the Hawaii Publicity Rights Act

cannot be retrospectively applied where Sailor Jerry died

decades before its enactment; (2) Plaintiff’s claim for unjust

enrichment is insufficiently pled; and (3) Plaintiff

unreasonably delayed bringing this lawsuit, and all of its

claims should be barred under the doctrine of laches.           For the

reasons set forth below, the Court:

            (1)   GRANTS Defendants’ Motion for Partial Summary

                  Judgment as to Counterclaim Count Two (Non-

                  Retrospectivity of the Hawaii Publicity Rights

                  Act), ECF No. 92 (the “HPRA Motion”);

            (2)   GRANTS Defendants’ Motion for Judgment on the

                  Pleadings as to Count Four of the First Amended

                  Complaint, unjust enrichment, ECF No. 91 (the

                  “Enrichment Motion”); and

            (3)   DENIES Defendants’ Motion for Summary Judgment on

                  Laches as to all four counts of the First Amended

                  Complaint, ECF No. 89 (the “Laches Motion”), on

                  the basis that it GRANTS IN PART Plaintiff’s Rule




                                      2
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 3 of 86    PageID #:
                                   4000


                  56(d) request for additional time to conduct

                  discovery on its “unclean hands” defense. 1/



                            FACTUAL BACKGROUND

 I.   The 1973 Distribution and Sale of Sailor Jerry’s Assets

            When Sailor Jerry died in 1973, his wife, Mrs.

Collins, initiated a probate of his estate.           Compl. ¶ 26.

Sailor Jerry’s personal property consisted of a motorcycle and

“1 lot used tattoo machines, designs, stencils, miscellaneous

odds and ends,” all of which Mrs. Collins purchased for $2,425.

Compl. ¶ 26; Laches Motion, Concise Statement of Facts (“CSF”),

ECF No. 90, Ex. 7.      Any “such property as remain[ed]” was to be

distributed in a one-third share to Mrs. Collins, and in a two-

thirds share equally among four of Sailor Jerry’s children.

Compl. ¶ 27; Laches Motion CSF, Ex. 7.

            Mrs. Collins subsequently sold the contents of Sailor

Jerry’s tattoo shop for $20,000 to Michael Malone, an artist

that Sailor Jerry had mentored.        Compl. ¶ 30.     The agreement was

made orally and never written down.         Compl. ¶ 30.     Malone’s

then-girlfriend, Kate Hellenbrand, provided a $5,000 down

payment on Malone’s behalf and Malone paid the remainder over



      1/ Aside from Defendants’ Laches Motion, which the Court denies at this

juncture, Defendants did not otherwise seek any relief with regard to Counts
One, Two, or Three of the First Amended Complaint. Rather, Defendants’ HPRA
Motion relates only to their Counterclaim Count Two.

                                      3
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 4 of 86   PageID #:
                                   4001


the next several years.      Compl. ¶ 30.     In that sale, Malone

purchased “tattoo flash (and all copyright rights therein),

tattoo machines, and related items such as needles, some

furniture, and miscellaneous office equipment.”          Compl. ¶¶ 25,

30.   The sale did not include “personal items” such as Sailor

Jerry’s photographs or letters, which Mrs. Collins asked to be

returned to her.     Compl. ¶ 30.

            The critical point of contention now is whether Malone

purchased the right to the Sailor Jerry IP.          Malone died in

2007, but his 2003 affidavit asserts that he believed he had

purchased that right:

            I am the assignee of all right, title and interest
            in and to the name and certain artwork of the tattoo
            artist Norman Collins, a/k/a “Sailor Jerry,”
            deceased.
            . . .
            In or about July of 1973, Mrs. Collins contacted me
            by telephone and stated that Normal Collins
            intended to offer to me the right to purchase the
            Sailor Jerry name, certain artwork, the inventory
            and equipment from his store . . . and “everything
            else related to his tattoo business.” . . . Mrs.
            Collins and I . . . did orally agree on a total
            purchase price of $20,000.     We also agreed that
            upon payment of this amount, I would become the
            assignee/owner of all rights associated with the
            Sailor Jerry name and related artwork.

Laches Motion CSF, Ex. 1 (“Malone Affidavit”).          Mrs. Collins,

however, claims that the sale included only physical items in

the tattoo shop, and did not include any intangible intellectual




                                      4
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 5 of 86   PageID #:
                                   4002


property rights or the right to use Sailor Jerry’s name “for any

purpose.” 2/   Compl. ¶ 30, 31.

II.   Malone and His Successors Capitalize on the Sailor Jerry IP

            After the sale, Malone proceeded on the understanding

that he had purchased the rights to use the Sailor Jerry IP.              He

agreed to share those rights with Ed Hardy, and by 1999 the two

had created the entity Sailor Jerry Limited to make and market

Sailor Jerry merchandise.       Compl. ¶¶ 36-38.     Two years later,

Sailor Jerry Limited created the product “Sailor Jerry rum” and

entered into a distribution agreement with Defendant William

Grant & Sons, Inc.      Compl. ¶ 39.

            Malone and Hardy then assigned their purported

interests in the Sailor Jerry IP to the entity Sailor Jerry

Limited.    Compl. ¶ 40.    Defendant William Grant & Sons, Ltd.

later purchased Sailor Jerry Limited, including all rights

assigned thereto.     Compl. ¶¶ 40-42.      Defendants William Grant &

Sons Inc. and William Grant & Sons Ltd. (collectively, the “WGS

Companies”) have since continued to market and sell Sailor Jerry

rum and other merchandise using the Sailor Jerry IP.            Compl.

¶¶ 44-45.




      2/ Mrs. Collins did permit Malone to give proper authorship attribution
for the flash and artwork that Sailor Jerry created and Malone used in
tattooing. Compl. ¶ 31.

                                       5
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 6 of 86   PageID #:
                                   4003


III.    Mrs. Collins Learns that Malone and His Successors Used the
        Sailor Jerry IP

             Meanwhile, Mrs. Collins became aware in 1994 that

 Sailor Jerry’s name was being used commercially.          At that time,

 Hardy (Malone’s business partner) met with Mrs. Collins to show

 her a book that he intended to publish about Sailor Jerry, which

 included letters that Sailor Jerry had written to Hardy.            Laches

 Motion CSF, Ex. 6 (“Collins Dep.”), at 37-39.         Mrs. Collins was

 bothered by the book but took no action at that time.          Id. at

 39; Opp. to Laches Motion at 22 n.20.

             Mrs. Collins first became aware of Sailor Jerry rum in

 2008 or 2009.    She went to a restaurant with her daughter’s

 family and saw a poster of Sailor Jerry’s artwork on a bottle of

 rum.    Collins Dep. at 40-41; Ans. to Counterclaim, ECF No. 85,

 ¶ 20.    Mrs. Collins was surprised and went to a Longs Drugstore

 the next day to examine a bottle of Sailor Jerry rum.          Collins

 Dep. at 41-42.    Mrs. Collins believed the use constituted

 identity theft and contacted several attorneys, but she did not

 ultimately retain counsel.      Id. at 43-44; Opp. to Laches Motion

 at 7.

             Shortly thereafter, Kate Hellenbrand—Malone’s

 girlfriend at the time of the oral contract between Mrs. Collins

 and Malone—contacted Mrs. Collins.       Collins Dep. at 46-47.

 Hellenbrand had published a book and told Mrs. Collins that the


                                      6
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 7 of 86     PageID #:
                                   4004


photograph on the bottle of Sailor Jerry rum had been taken from

her book.    Id. at 47; Opp. to Laches Motion at 6 n.6.

Hellenbrand retained an attorney and organized a three-way call

with her attorney and Mrs. Collins regarding the use of Sailor

Jerry’s artwork on the bottle of rum.         Collins Dep. at 48-49.

Hellenbrand’s attorney subsequently sent demand letters to

Defendants in 2009, stating that Hellenbrand and Malone “became

owners of the Sailor Jerry tattoo business and all related

intellectual property in 1973,” that Defendants were

misappropriating that IP, and that “all this critical

information” had been confirmed with Mrs. Collins.            Laches

Motion CSF, Exs. 4, 5 (demand letters). 3/

              Mrs. Collins did not take any legal action against

Defendants prior to filing this lawsuit in 2019.            Collins Dep.

at 48-49.

IV.   Formation of N.K. Collins, LLC

            In 2018, Mrs. Collins formed the Plaintiff entity N.K.

Collins, LLC (“Collins LLC”) and is its sole manager.             Laches

Motion, CSF, Ex. 17.      The four children who were to receive a

portion of any remainder of Sailor Jerry’s estate are each



      3/ The first demand letter was addressed to “Sailor Jerry Limited,” and

the second to legal counsel Paul Kilmer of Holland & Knight. Laches Motion
CSF, Exs. 5, 6. Since Defendants had already purchased Sailor Jerry Limited,
they apparently received these letters. See Laches Motion at 9 (“In August
2009, Defendants received two demand letters from [Hellenbrand’s]
attorney.”).

                                      7
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 8 of 86   PageID #:
                                   4005


members of Collins LLC, and they, along with Mrs. Collins,

assigned all rights and interest in Sailor Jerry’s intellectual

property, including any right of publicity, to that entity.

Compl. ¶ 5.    Collins LLC thus alleges that it is “the sole and

exclusive owner of all statutory and common law rights and

interests in and to Sailor Jerry’s Persona.”          Compl. ¶ 6.



                          PROCEDURAL BACKGROUND

            On June 13, 2019, Collins LLC brought this action

against the WGS Companies for the WGS Companies’ production and

marketing of Sailor Jerry rum and related merchandise using the

Sailor Jerry IP.     Compl. ¶ 1.    Collins LLC filed its initial

complaint in Hawaii state court.          ECF No. 1-2.   The WGS

Companies removed the case, ECF No. 1, and filed a series of

dispositive motions seeking dismissal of the claims, ECF Nos.

19, 20, 28.    The WGS Companies simultaneously filed a motion to

stay all discovery pending the resolution of their dispositive

motions, ECF No. 25, which the magistrate judge granted, ECF

Nos. 39, 57, and which remains in effect.

            Meanwhile, prior to the Court’s hearing on the

dispositive motions, Collins LLC sought leave to file an amended

complaint.    ECF No. 37.    Collins LLC was granted leave, ECF Nos.

65 & 81, and the Court therefore administratively withdrew the

WGS Companies’ pending dispositive motions, directing the WGS

                                      8
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 9 of 86   PageID #:
                                   4006


Companies to file new motions covering the amended claims, ECF

No. 84.

            Collins LLC’s First Amended Complaint asserts four

causes of action: (1) a violation of its right of publicity

under Hawaii Revised Statutes (“HRS”) Chapter 482P (the “Hawaii

Publicity Rights Act” or “HPRA”), Compl. ¶¶ 51-55;

(2) cancellation of Defendant William Grant & Sons, Limited’s

publicity rights registration under the HPRA, Compl. ¶¶ 56-61;

(3) a violation of Hawaii’s common law right of publicity,

Compl. ¶¶ 62-64; and (4) unjust enrichment, Compl. ¶¶ 65-69.

Each cause of action is asserted against both Defendants except

the second count, which is asserted only against Defendant

William Grant & Sons, Limited.        The WGS Companies filed an

Answer and a ten-count Counterclaim, including, as relevant at

this juncture, Count Two for a declaratory judgment on the non-

retrospective application of the Hawaii Publicity Rights Act.

ECF No. 83.

            On May 8, 2020, the WGS Companies filed new motions

covering the amended claims.       The WGS Companies seek summary

judgment on all four counts based on laches, ECF No. 89;

judgment on the pleadings as to Count Four for unjust

enrichment, ECF No. 91; and partial summary judgment on Count

Two of their Counterclaim for the non-retrospectivity of

Hawaii’s Publicity Rights Act, ECF No. 92.          Collins LLC filed

                                      9
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 10 of 86   PageID #:
                                    4007


 its oppositions on June 1, ECF Nos. 101, 103, 105, and the WGS

 Companies filed their replies on June 8, ECF Nos. 111, 112, 114.

 A telephonic hearing was held on June 22.



                                  STANDARD

 I.    Summary Judgment

             Summary judgment is proper where there is no genuine

 issue of material fact and the moving party is entitled to

 judgment as a matter of law.       Fed. R. Civ. P. 56(a).      Federal

 Rule of Civil Procedure (“Rule”) 56(a) mandates summary judgment

 “against a party who fails to make a showing sufficient to

 establish the existence of an element essential to the party’s

 case, and on which that party will bear the burden of proof at

 trial.”   Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); see

 also Broussard v. Univ. of Cal., 192 F.3d 1252, 1258 (9th Cir.

 1999).

             “A party seeking summary judgment bears the initial

 burden of informing the court of the basis for its motion and of

 identifying those portions of the pleadings and discovery

 responses that demonstrate the absence of a genuine issue of

 material fact.”     Soremekun v. Thrifty Payless, Inc., 509 F.3d

 978, 984 (9th Cir. 2007) (citing Celotex, 477 U.S. at 323); see

 also Jespersen v. Harrah’s Operating Co., 392 F.3d 1076, 1079

 (9th Cir. 2004).     “When the moving party has carried its burden

                                     10
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 11 of 86   PageID #:
                                    4008


 under Rule 56[(a)] its opponent must do more than simply show

 that there is some metaphysical doubt as to the material facts

 [and] come forward with specific facts showing that there is a

 genuine issue for trial.”      Matsushita Elec. Indus. Co. v. Zenith

 Radio, 475 U.S. 574, 586–87 (1986) (citation and internal

 quotation marks omitted); see also Anderson v. Liberty Lobby,

 Inc., 477 U.S. 242, 247–48 (1986) (stating that a party cannot

 “rest upon the mere allegations or denials of his pleading” in

 opposing summary judgment).

             “An issue is ‘genuine’ only if there is a sufficient

 evidentiary basis on which a reasonable fact finder could find

 for the nonmoving party, and a dispute is ‘material’ only if it

 could affect the outcome of the suit under the governing law.”

 In re Barboza, 545 F.3d 702, 707 (9th Cir. 2008) (citing

 Anderson, 477 U.S. at 248).       When considering the evidence on a

 motion for summary judgment, the court must draw all reasonable

 inferences on behalf of the nonmoving party.         Matsushita Elec.

 Indus. Co., 475 U.S. at 587; see also Posey v. Lake Pend Oreille

 Sch. Dist. No. 84, 546 F.3d 1121, 1126 (9th Cir. 2008) (stating

 that “the evidence of [the nonmovant] is to be believed, and all

 justifiable inferences are to be drawn in his favor” (internal

 citation and quotation omitted)).

II.    Judgment on the Pleadings

             Under Rule 12(c), “[a]fter the pleadings are closed—

                                     11
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 12 of 86    PageID #:
                                    4009


 but early enough not to delay trial—a party may move for

 judgment on the pleadings.”       Judgment on the pleadings is

 properly granted “when, accepting all factual allegations in the

 complaint as true, there is no issue of material fact in

 dispute, and the moving party is entitled to judgment as a

 matter of law.”     Chavez v. United States, 683 F.3d 1102, 1108

 (9th Cir. 2012) (citation and original alteration omitted).

             Analysis under Rule 12(c) is substantially identical

 to analysis under Rule 12(b)(6) because, under both rules, a

 court must determine whether the facts alleged in the complaint,

 taken as true, entitle the plaintiff to a legal remedy.              Id.;

 see also Harris v. Cty. of Orange, 682 F.3d 1126, 1131 (9th Cir.

 2012) (Rule 12(b)(6) and Rule 12(c) motions are functionally

 equivalent).

             The Court must accept as true the facts as pled by the

 non-movant and will construe the pleadings in the light most

 favorable to the nonmoving party.        U.S. ex rel. Cafasso v. Gen.

 Dynamics C4 Sys., Inc., 637 F.3d 1047, 1053 (9th Cir. 2011).

 Additionally, mere conclusory statements in a complaint or

 “formulaic recitation[s] of the elements of a cause of action”

 are not sufficient. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

 555 (2007).    “[D]ismissal with prejudice and without leave to

 amend is not appropriate unless it is clear on de novo review

 that the complaint could not be saved by amendment.” Harris, 682

                                     12
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 13 of 86   PageID #:
                                    4010


 F.3d at 1131 (citation omitted).



                                 DISCUSSION

             The WGS Companies seek a judgment dismissing all

 claims on the basis of laches; a judgment dismissing the unjust

 enrichment claim as both insufficiently pled and unavailable

 based on an adequate remedy at law; and a declaratory judgment

 on the non-retrospectivity of the HPRA.         The Court first

 concludes that the HPRA cannot be retrospectively applied to the

 WGS Companies.    The Court next considers the claim for unjust

 enrichment and finds that it fails to allege that any benefit

 was conferred on Defendants, and accordingly dismisses that

 claim.   Finally, the Court considers laches and finds that

 Collins LLC should be provided an opportunity to conduct

 discovery relating to its unclean hands defense.

 I.    Retrospective Application of the Hawaii Publicity Rights
       Act

             The HPRA was passed in 2009 and created a statutory

 post-mortem descendible right of publicity in Hawaii.           Because

 Sailor Jerry died in 1973—thirty-six years prior to the

 statute’s enactment—the parties dispute whether Sailor Jerry’s

 heirs inherited any right of publicity under the statute.            The

 WGS Companies argue that the HPRA does not apply to those who

 predeceased its enactment.      According to the WGS Companies, a


                                     13
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 14 of 86   PageID #:
                                    4011


 presumption against retrospectivity applies because the language

 of the HPRA and the legislative intent in enacting it are

 ambiguous as to its effective dates, and it impairs the WGS

 Companies’ substantial existing rights.         Collins LLC argues that

 the statute is clearly retrospective; and in fact, was a mere

 codification of existing common law rights.         The Court holds

 that the statute may not have retrospective operation as against

 the WGS Companies.

          a. The Court Declines to Certify the Issue

             At the end of Collins LLC’s opposition, it requests

 that the Court certify the issue of retrospectivity to the

 Hawaii Supreme Court “[i]f the Court is inclined to rule”

 against its position.      Opp. to HPRA Motion at 25 n.14.       At the

 hearing, both Collins LLC and the WGS Companies argued that

 certification is unnecessary and that the Court should decide

 the issue.

             There is no Hawaii Supreme Court decision ruling on

 the retrospective application of the HPRA.         Where the Hawaii

 Supreme Court has not addressed an issue of state law, the

 district court may, in its discretion, certify the issue to the

 state supreme court.     Robert Ito Farm, Inc. v. Cty. of Maui, 111

 F. Supp. 3d 1088, 1107–08 (D. Haw. 2015), aff’d sub nom. Atay v.

 Cty. of Maui, 842 F.3d 688 (9th Cir. 2016).         “When the law at

 issue is reasonably clear such that the court can readily

                                     14
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 15 of 86   PageID #:
                                    4012


 predict how the Hawaii Supreme Court would decide the issue,

 certification is inappropriate.”         Id. at 1108 (internal

 quotation marks and citation omitted).

             Hawaii law on retrospective operation of statutes is

 reasonably clear.     The Court finds the issue of a statute’s

 retrospective operation determinable without certification—as

 have other courts in this district, see, e.g., Galima v. Ass’n

 of Apartment Owners of Palm Court, No. CV 16-00023 LEK-RT, 2019

 WL 1982514, at *5 (D. Haw. May 3, 2019) (“Because there is no

 Hawai`i case law addressing whether § 667-102 applies

 retroactively, this Court must predict how the Hawai`i Supreme

 Court would decide the issue.”), and as this Court has found in

 prior cases, Aileen Y. v. Dep’t of Educ., No. CIV. 10-00454 ACK,

 2011 WL 2223659, at *6 (D. Haw. June 6, 2011) (finding that

 “neither the statute nor its legislative history contains

 expressed or obviously intended retroactive effect” and “[t]he

 Court therefore will not apply the new version of section 302A–

 1134(c) retroactively”); Bator v. State of Hawai`i, Judiciary

 Adult Prob. Div., 910 F. Supp. 479, 486 (D. Haw. 1995) (denying

 retrospective application where “the amendment to Haw. Rev.

 Stat. § 386–5 clearly affects substantive rights, as it

 specifically provides for a new cause of action previously

 barred” and “the State legislature did not expressly direct that

 the amendment to § 386–5 be applied retroactively”).           Therefore,

                                     15
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 16 of 86   PageID #:
                                    4013


 the Court elects not to certify the retrospectivity analysis

 here.

          b. Judicial Estoppel

             Collins LLC next argues that “this Court need not even

 reach the merits” of retrospectivity “because Defendants should

 be judicially estopped from arguing that Collins’s publicity

 rights do not exist” when, “[f]or years, Defendants have

 asserted that they own those rights.”        Opp. to HPRA Motion at

 21.   The WGS Companies respond that judicial estoppel does not

 apply to pure questions of law, and regardless its positions

 have not been inconsistent.       Reply supporting HPRA Motion at 16-

 17.

             Although state law supplies the rule of decision in

 this diversity action, “federal law governs the application of

 judicial estoppel in federal court.”        Rissetto v. Plumbers &

 Steamfitters Local 343, 94 F.3d 597, 603 (9th Cir. 1996).

 “[J]udicial estoppel is an equitable doctrine invoked by a court

 at its discretion.”     New Hampshire v. Maine, 532 U.S. 742, 750

 (2001) (internal quotation marks omitted).         “[I]ts purpose is to

 protect the integrity of the judicial process by prohibiting

 parties from deliberately changing positions according to the

 exigencies of the moment.”      Id. at 749–50 (citation and internal

 quotation marks omitted).      Judicial estoppel “bars a party from

 gaining an advantage by taking a position in a subsequent

                                     16
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 17 of 86   PageID #:
                                    4014


 lawsuit that is inconsistent with a position it took in a

 previous lawsuit.”     Kawelo v. Nationstar Mortg. LLC, Civ. No.

 18-00096 JMS-KSC, 2018 WL 4354295, at *7 (D. Haw. Sept. 12,

 2018) (brackets and citations omitted).

             The United States Supreme Court has identified three

 factors courts should consider in determining whether to apply

 the doctrine of judicial estoppel: (1) whether a party’s later

 position is “clearly inconsistent with its earlier position”;

 (2) whether the party persuaded the first court to accept the

 party’s earlier position, so that judicial acceptance of the

 later inconsistent position “would create the perception that

 either the first or the second court was misled”; and (3)

 whether the party seeking to assert an inconsistent position

 “would derive an unfair advantage or impose an unfair detriment

 on the opposing party if not estopped.”         New Hampshire, 532 U.S.

 at 750–51 (internal quotation marks and citations omitted).

 These factors are not “inflexible prerequisites or an exhaustive

 formula for determining the applicability of judicial estoppel.”

 Id.   Because judicial estoppel is a discretionary doctrine, its

 applicability requires a case-by-case determination.           Ah Quin v.

 Cty. of Kauai Dep’t of Transp., 733 F.3d 267, 272 (9th Cir.

 2013).

             Collins LLC identifies two positions taken by the WGS

 Companies that it asserts are inconsistent with the WGS

                                     17
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 18 of 86    PageID #:
                                    4015


 Companies’ present argument on the non-retrospectivity of the

 HPRA.      First, Defendant William Grant & Sons, Limited registered

 publicity rights of Sailor Jerry with the DCCA as is provided

 for in the HPRA. 4/    Second, the WGS Companies obtained standing

 in the 2018 probate proceeding on the basis of their purported

 interest in Sailor Jerry’s publicity rights.           In both cases, the

 WGS Companies asserted that they owned Sailor Jerry’s publicity

 rights, which—Collins LLC argues—is inconsistent with their

 position in the present motion that the HPRA is not

 retrospective.

               But the WGS Companies’ positions are not inconsistent

 because their asserted property rights were never based on the

 HPRA.      Rather, the WGS Companies have always asserted that they

 obtained their property rights in the Sailor Jerry IP from

 Malone and other predecessors prior to the HPRA being enacted.

 See HPRA Motion, CSF, ECF No. 93, Ex. 6, at 6-7 (Petition to

 Vacate 2018 probate); see also Malone Affidavit.           The WGS

 Companies assert that they purchased the intellectual property

 in 2000; while the HPRA was not enacted until 2009.            Laches

 Motion, CSF, Ex. 2.      According to the WGS Companies, they

 “acquired such property, including Sailor Jerry’s business,

 trade name, goodwill, and related intellectual property, from


       4/Judicial estoppel is permitted where the prior statement was made in
 an administrative proceeding . . . rather than judicial.” Rissetto, 94 F.3d
 at 604.

                                      18
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 19 of 86     PageID #:
                                    4016


 (1) their predecessors-in-interest; or (2) the public domain,

 upon Norman Collins’s death.”        Reply supporting HPRA Motion at

 17.

             Because the WGS Companies have not asserted property

 rights under the HPRA, their argument now that the HPRA is not

 retrospective is not inconsistent with their assertion of a

 property interest in the Sailor Jerry IP. 5/         Judicial estoppel is

 therefore inapplicable, and the Court proceeds with the

 retrospectivity analysis.

          c. Hawaii Law on Retrospectivity

             There is a codified presumption against retrospective

 operation of law in Hawaii, where “[n]o law has any

 retrospective operation, unless otherwise expressed or obviously

 intended.”    HRS § 1-3.     The Hawaii Supreme Court has embraced

 the United States Supreme Court’s definition of what constitutes

 retrospective operation:

             Every statute which takes away or impairs vested
             rights acquired under existing laws, or creates a
             new obligation, imposes a new duty or attaches a
             new disability in respect to transactions or
             considerations     already    past,    must    be
             deemed retrospective.




       5/ In Collins LLC’s Opposition, it acknowledges that in the 2018 probate

 preceding, “Defendants argued that they have a ‘property right in’” Sailor
 Jerry’s right of publicity, and additionally “argued (apparently in the
 alternative) before the probate court that the HPRA is not retrospective.”
 Opp. to HPRA Motion at 23.

                                       19
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 20 of 86    PageID #:
                                    4017


 Taniguchi v. Ass’n of Apartment Owners of King Manor, Inc., 114

 Haw. 37, 47, 155 P.3d 1138, 1148 (2007) (citations omitted); see

 also Landgraf v. USI Film Prod., 511 U.S. 244, 269, 114 S. Ct.

 1483, 1499, 128 L. Ed. 2d 229 (1994).

             Accordingly, Hawaii recognizes the “general rule in

 most jurisdictions that:       Statutes or regulations which say

 nothing about retroactive application are not applied

 retroactively if such a construction will impair existing

 rights, create new obligations or impose additional duties with

 respect to past transactions.” 6/       Clark v. Cassidy, 64 Haw. 74,

 77 n.6, 636 P.2d 1344, 1346 n.6 (1981); see also Wong v.

 Takeuchi, 88 Haw. 46, 51, 961 P.2d 611, 616 (1998) (quoting

 same).   “Nevertheless, under an equally established rule of

 construction, a statute providing remedies or procedures that do

 not affect existing rights, but merely alter the means of

 enforcing or giving effect to such rights, may apply to pending

 claims—even those arising before the effective date of the




       6/ The Court here uses the term “retrospective,” but certain courts,

 like Clark, refer to “retroactive” application of law. “There is no
 difference in principle between a retrospective law and a retroactive law,
 either of which is one which takes away or impairs vested rights acquired
 under a different law or creates a new obligation, imposes a new duty or
 attaches a new disability in respect to transactions or considerations
 already past.” Roe v. Doe, 59 Haw. 259, 263–64, 581 P.2d 310, 314 (1978)
 (quoting Oleson v. Borthwick, 33 Haw. 766, 774 (1936)); see also 16A C.J.S.
 Constitutional Law § 645 (June 2020) (“As commonly used, the terms
 retrospective and retroactive are synonymous and interchangeable.”).


                                      20
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 21 of 86    PageID #:
                                    4018


 statute.”     Gov’t Emps. Ins. Co. v. Hyman, 90 Haw. 1, 5, 975 P.2d

 211, 215 (1999) (citing Clark, 64 Haw. at 77). 7/

              The Court begins its analysis by considering the text

 of the statute.     If retrospectivity is not clearly stated or the

 text is ambiguous, the Court will turn to the legislative

 history.     If the retrospectivity is not clearly stated or the

 legislative history is ambiguous, the Court will then consider

 whether application of the statute to the WGS Companies would

 impair their existing substantial rights.

            d. The Text and Legislative History of the Hawaii
               Publicity Rights Act

                  1. The Development of the Hawaii Publicity Rights
                     Act

              The enacted version of the HPRA was the Legislature’s

 sixth revision of the bill.       Prior versions of the bill included

 differing language and the Legislature’s development of the

 ultimately enacted statutory text is instructive.

              First, the initial draft of the bill contained

 retrospectivity language (later removed) that expressly stated

 “[t]he rights recognized under this chapter shall be deemed to

 have existed before the effective date of this chapter,” and the


       7/The WGS Companies cite Hyman for the proposition that Hawaii has
 recognized the Supreme Court’s test set out in Landgraf v. USI Film Prods.,
 511 U.S. 244 (1994). HPRA Motion at 4-5. Hawaii case law does largely
 mirror the test set out in Landgraf for interpreting federal law, but because
 interpretation of a Hawaii statute is at issue, the Court applies the
 standards as articulated in Hawaii case law. See Hyman, 90 Haw. at 5-6
 (setting out the retrospectivity standards under Hawaii law, and quoting
 Landgraf in support of those standards).

                                      21
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 22 of 86    PageID #:
                                    4019


 statute was written to “take effect upon its approval.”              Opp. to

 HPRA Motion, CSF, ECF No. 102, Ex. 2, at 25, 28.          Section 1, the

 “purpose” statement (set forth in the preamble), of that first

 draft stated, “The purpose of this Act is to help protect in

 Hawaii the music of Hawaii, and all other works of authorship,

 by establishing a property right in the commercial use of a

 person’s name, voice, signature, photograph, or likeness.”             Id.

 at 23 (emphasis added).

             The second draft of the bill kept the retrospectivity

 language but set the effective date of the bill to July 1, 2050.

 Id. at 44, 47 (S.D. 1).      The third draft of the bill scrapped

 the retrospectivity language entirely.        It added language that,

 “Beginning August 1, 2009, every individual or personality has a

 property right in the use of the individual’s or personality’s

 name, voice, signature, photograph, or likeness.”          Id. at 52

 (S.D. 2) (emphasis added).      The Judiciary and Government

 Operations Committee report explained that the intention behind

 this change was to clarify prospective application:          “Your

 Committee has amended this measure by making the application of

 the chapter prospective to August 1, 2009, in the interests of

 avoiding ambiguity over the time of accrual of any property

 right.”   HPRA Motion, CSF, Ex. 2, at Senate Journals, SCRep.

 770.   This version provided an effective date of July 1, 2050.

 Opp. to HPRA Motion, CSF, Ex. 2, at 57.         The Section 1 “purpose”

                                     22
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 23 of 86   PageID #:
                                    4020


 statement continued to reference “establishing” a property

 right:   “Notwithstanding any existing copyright law concerning

 sound recordings, the purpose of this Act is to protect the

 music of Hawaii, and all other works of authorship, by

 establishing a property right in the commercial use of a

 person’s name, voice, signature, photograph, or likeness.”            Id.

 at 52.

             The fourth draft of the bill kept the prospective

 language, but with an effective date of July 1, 2112.           Id. at

 73, 77 (S.D. 2 H.D. 1).      The prospective language was then

 removed in the fifth draft of the bill.         See S.D. 2 H.D. 2.     The

 removal is not referenced in the committee reports, and thus is

 presumably encompassed within the “technical, nonsubstantive

 changes” referred to.      HPRA Motion, CSF, Ex. 2, at House

 Journals, SCRep. 1688.      This version kept an effective date of

 July 1, 2112.    S.D. 2 H.D. 2.

             The sixth and final draft of the bill remained without

 any retrospective or prospective language, but was altered to

 take effect upon approval.      See Opp. to HPRA Motion, CSF, Ex. 2,

 at 1-21 (S.D. 2 H.D. 2 C.D. 1).       This final draft—the enacted

 version—altered the Section 1 “purpose” statement (set forth in

 the preamble) to read, “The purpose of this Act is to confirm

 the existence of a property right in the commercial use of a

 person’s name, voice, signature, or likeness known as the right

                                     23
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 24 of 86    PageID #:
                                    4021


 of publicity.”    Id. at 1 (emphasis added).       But the committee

 report underlying this final version did not reference the

 change, and in fact continued to refer to the “purpose of this

 measure” as “[e]stablishing a property right in the commercial

 use of a person’s name, voice, signature, or likeness.”              HPRA

 Motion, CSF, Ex. 2, at Senate Journals, Conf. Com. Rep. 92.

                 2. The Text of the Statute is Ambiguous

             “[T]he starting point in statutory construction is to

 determine the legislative intent from the language of the

 statute itself.”     Wright v. Home Depot U.S.A., Inc., 111 Haw.

 401, 409, 142 P.3d 265, 273 (2006) (quoting Morgan v. Planning

 Dep’t, County of Kauai, 104 Hawaii 173, 185, 86 P.3d 982, 994

 (2004)).

             As stated above, the “purpose” section of the enacted

 version of the HPRA (set forth in the preamble) explains, “The

 purpose of this Act is to confirm the existence of a property

 right in the commercial use of a person’s name, voice,

 signature, or likeness known as the right of publicity.”              2009

 Hawaii Laws 1st Sp. Sess. Act 28 (S.B. 1005) (cited in .              The

 language codified in Section 482P-2 then explains the scope of

 the publicity right:

             Every individual or personality has a property
             right   in   the  use   of   the   individual’s   or
             personality’s name, voice, signature, and likeness.
             The right shall continue to exist for a fixed period
             of time after death, as prescribed in section 482P-

                                     24
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 25 of 86   PageID #:
                                    4022


             4. . . . The right does not expire upon the death
             of the individual or personality, regardless of
             whether the law of the domicile, residence, or
             citizenship of the individual or personality at the
             time of death or otherwise recognizes a similar or
             identical property right. This chapter is intended
             to apply to all individuals and personalities,
             living and deceased, regardless of place of
             domicile or place of domicile at time of death. In
             the case of a deceased individual or personality,
             the rights recognized under this chapter shall be
             deemed to exist at the time of death of any deceased
             individual or personality or subsequent successor
             of their rights for the purpose of determining the
             person or persons entitled to these property rights
             as    provided     for     in    section     482P-3.

 HRS § 482P-2.

             Collins LLC points to the latter two sentences as

 requiring application to those who predeceased the statute’s

 enactment.

                     A. The “Deemed to Exist” Clause

             As to the last sentence, Collins LLC argues that the

 phrase, “the rights recognized under this chapter shall be

 deemed to exist at the time of death,” would be superfluous if

 not intended to apply to those who predeceased enactment.            If

 the statute only applied to those who died after enactment,

 Collins LLC argues, “there would be no need to state that the

 rights of deceased persons shall be deemed to exist at the time

 of death.”    Opp. to HPRA Motion at 7.      Collins LLC highlights

 analogous “deemed to exist” language that was used to amend the

 publicity rights statutes in Washington, California, and Indiana


                                     25
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 26 of 86   PageID #:
                                    4023


 in order to make those statutes retrospective.          Wash. Rev. Code

 § 63.60.010 (“The rights recognized under this chapter shall be

 deemed to have existed before June 11, 1998, and at the time of

 death of any deceased individual or personality . . .”); Cal.

 Civ. Code § 3344.1 (“The rights recognized under this section

 shall be deemed to have existed at the time of death of any

 deceased personality who died prior to January 1, 1985”); Ind.

 Code § 32-36-1-8 (“If the personality died before July 1, 1994,

 the rights are considered to have existed on and after the date

 the personality died.”).

             The WGS Companies counter that the “deemed to exist”

 language in the cited state statutes each includes a clear

 anchoring date, specifying that the rights shall be considered

 to have existed before the relevant effective date of the

 statute.    The HPRA is conspicuously missing any specific date

 before which it should be deemed to apply.

             Anticipating that argument, Collins LLC explains that

 the HPRA did not need to include a particular date because

 unlike the three other state statutes, it was not adding

 retrospectivity language through amendment.         It is the nature of

 the amendment, Collins LLC argues, that requires reference to

 the date on which the original statute was enacted.          Because the

 Hawaii Legislature included the “deemed to exist” language in




                                     26
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 27 of 86   PageID #:
                                    4024


 its original bill, it was unnecessary to reference any prior

 enactment date.

             Collins LLC’s argument is convincing with respect to

 the persuasive value of other states’ reference to the original

 enactment date.     But it is not the inclusion of a specific date

 that alone makes those statutes clearly retrospective.           Rather,

 it is instead the plain language that they apply to those who

 predeceased enactment.      Earlier drafts of the HPRA likewise

 clearly stated that “the rights recognized under this chapter

 shall be deemed to have existed before the effective date.”

 That language would have mirrored the amendments made to

 indicate retrospectivity in other state statutes, without

 reference to a date an original statute was enacted, but the

 Legislature chose to not include it.

             The WGS Companies raise another operative role of the

 “deemed to exist” language.       The HPRA goes on to say that the

 rights shall be deemed to exist at the time of death for the

 purpose of determining how the rights are transferred under the

 subsequent subsection, 482P-3 (dealing with transfer,

 assignment, and license).      Because the HPRA states that it

 applies regardless of the individual’s domicile, the statute

 contemplates the situation where a person dies in a state that

 does not recognize publicity rights.        In that event, succession

 of the publicity right should operate as though the individual’s

                                     27
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 28 of 86   PageID #:
                                    4025


 domicile recognized such a right.        Said differently, even if the

 right is not recognized during an artist’s lifetime in her place

 of residence, the right should nevertheless be “deemed to exist

 at the time of death” for the purpose of determining which heirs

 inherited the right and who could bring suit under the HPRA.

 That reading requires no retrospective operation.

             The Court finds that the “deemed to exist” language is

 ambiguous.    Read naturally, the language may be suggestive of

 retrospective operation and mirrors retrospectivity amendments

 to analogous statutes in other states.        The language is not

 explicit however—a fact that is particularly notable in light of

 earlier explicit language that the Legislature removed.

 Further, the WGS Companies propose a reasonable interpretation

 of the language that does not require retrospective operation.

                     B. The Statute’s Application to “All
                        Individuals and Personalities, Living and
                        Deceased”

             Collins LLC also argues that the penultimate sentence

 makes clear that the HPRA operates retrospectively to

 individuals who predeceased its enactment.         That sentence

 provides that the HPRA “is intended to apply to all individuals

 and personalities, living and deceased.”

             The WGS Companies cite to Dillinger, LLC v. Electronic

 Arts Inc., 795 F. Supp. 2d 829 (S.D. Ind. 2011) to support their

 argument that this language is ambiguous.         In Dillinger, a court

                                     28
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 29 of 86    PageID #:
                                    4026


 examining Indiana’s publicity rights statute (as it existed

 prior to the retrospectivity amendment discussed above) found

 that defining a personality as “a living or deceased natural

 person” was insufficient to convey retrospective intent to those

 who predeceased enactment, explaining that the statute “can be

 read equally to protect personalities who live and die after the

 statute’s 1994 enactment, as they can be read to protect those

 who have ever lived.”      Id. at 834.     Because the language could

 be interpreted either way, the court found the provision

 ambiguous.    In the face of that ambiguity, the court adopted the

 narrower reading that “Indiana’s right-of-publicity statute

 doesn’t apply to personalities who died before its enactment.” 8/

 Id.

             Like the Dillinger court, the Court here finds the

 language that the HPRA applies to the living and deceased to be

 ambiguous.    Notably, the language analyzed by the Dillinger

 court was considerably more limited than provisions Collins LLC

 here cites.    The HPRA contains additional references that could

 be read to suggest its application to those who predeceased its

 enactment; specifically, in addition to defining an individual

 as a “natural person, living or dead,” the HPRA includes the



       8/ After that decision, the Indiana Legislature amended the statute to

 make clear that, “The rights apply to the personality whether the personality
 died before, on, or after July 1, 1994.” Ind. Code § 32-36-1-8 (amended to
 include the clarifying language in 2012).

                                      29
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 30 of 86   PageID #:
                                    4027


 above-discussed language that the statute “is intended to apply

 to all individuals and personalities, living and deceased.”

             But unlike the amendments made to the publicity rights

 statutes in other states, the Hawaii Legislature did not include

 clarifying language that the “deceased” is intended to include

 those who predeceased the statute (rather than including only

 those who die after the statute’s enactment).         Indeed, the

 Washington publicity rights statute—on which the Hawaii statute

 was based—contains a nearly identical sentence that, “[t]his

 chapter is intended to apply to all individuals and

 personalities, living and deceased,” but which the Washington

 Legislature apparently considered insufficient to convey

 retrospectivity, going on to make completely plain that “[s]uch

 right exists in . . . individuals or personalities deceased

 before, on, or after June 11, 1998 [the effective date of the

 statute].”    Wash. Rev. Code § 63.60.010.

                     C. The Effective Date

             Finally, some legislatures make retrospectivity

 express by stating that the relevant act shall take effect upon

 approval but apply retrospectively to a particular date.             See,

 e.g., Croyle v. Theatine Fathers, Inc., No. CV 19-00421 JAO-WRP,

 2019 WL 7340501 (D. Haw. Dec. 30, 2019); Chung Mi Ahn v. Liberty

 Mut. Fire Ins. Co., 126 Haw. 1, 9, 265 P.3d 470, 478 (2011).             In

 fact, as the WGS Companies argue, that is the approach suggested

                                     30
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 31 of 86   PageID #:
                                    4028


 by the Hawaii Legislative Drafting Manual.         It explains that

 “bills are normally drafted so as to take effect upon approval,”

 but the Legislature may impose a “[r]etroactive [e]ffective

 [d]ate” with the suggested language, “This Act, upon its

 approval, shall take effect retroactive to January 1, 20__.”

 HPRA Motion, CSF, Ex. 4, at 43-44 (Hawaii Legislative Drafting

 Manual (2012)) (citing HRS § 1-3).        The Legislature that enacted

 the HPRA, however, was apparently not operating under these

 parameters.    Even though the HPRA states that it will take

 effect upon approval, earlier retrospective and earlier

 prospective language was placed in different sections of the

 statute—even as the date the statute went into effect varied.

 See discussion on the development of the HPRA, supra.

 Apparently, the “effective date” was not how this Legislature

 chose to address retrospective or prospective intent.

             The Court concludes that the text of the HPRA is

 ambiguous.    Accordingly, the Court turns to the legislative

 history of the statute.      State v. Reis, 115 Haw. 79, 84, 165

 P.3d 980, 985 (2007) (“[A]bsent an absurd or unjust result, we

 are bound to give effect to the plain meaning of unambiguous

 statutory language; we may only resort to the use of legislative

 history when interpreting an ambiguous statute.” (internal

 citation omitted)).




                                     31
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 32 of 86    PageID #:
                                    4029


                 3. The Legislative History is Ambiguous

             In addition to the parties’ arguments that the

 language of the HPRA clearly is or is not retrospective, the

 parties each also argue that the legislative history supports

 their respective positions.       In particular, the parties disagree

 on the significance of (1) the Legislature’s ultimate removal of

 both the initial retrospective and later prospective language;

 and (2) the “purpose” section of the statute.           Neither source

 makes legislative intent clear.

                            A. The Legislature’s Removal of the
                               Operative Timeline

             The Court turns first to the committee reports. 9/          As

 reviewed above, the Legislature included retrospective language


       9/ Collins LLC’s arguments on the legislative history largely rely on
 comments submitted by the community to inform the Legislature’s actions. See
 Opp. to HPRA Motion at 11-16. But “the authoritative source for finding the
 Legislature’s intent lies in the Committee Reports on the bill, which
 represent the considered and collective understanding of those Congressmen
 involved in drafting and studying proposed legislation.” Wright, 111 Haw. at
 411 n.8 (quoting Garcia v. United States, 469 U.S. 70, 76, 105 S. Ct. 479, 83
 L. Ed. 2d 274 (1984)); see also Peer News LLC v. City & Cty. of Honolulu, 138
 Haw. 53, 71, 376 P.3d 1, 19 (2016) (“To the extent that legislative history
 may be considered, it is the official committee reports that provide the
 authoritative expression of legislative intent.” (quoting Wright, 111 Haw. at
 411 n.8)). Although the Legislature was presented with the community
 comments described by Collins LLC, the Legislature did not incorporate that
 understanding into the text of the statute or its committee reports. Collins
 LLC’s reliance on community comments is misplaced.
        Collins LLC also points to the Governor’s Statement of Objections.
 According to Collins LLC, the following statement shows retrospective
 understanding: “My Administration recognizes there are individuals,
 particularly within the Hawaiian community, who seek legal protection for the
 names and images of the many talented artists who are no longer with us.”
 Opp. to HPRA Motion at 14-15 (quoting Statement of Objections to Senate Bill
 by Governor Lingle, HPRA Motion, CSF, Ex. 2, at Senate Journals, Gov. Msg.
 No. 828). This language suggests an understanding that certain community
 members supported legislation that would apply retrospectively, but it does
 not make obvious that the Legislature intended for the enacted statute to so
 apply.

                                      32
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 33 of 86   PageID #:
                                    4030


 in the first and second drafts of the bill.         Opp. to HPRA

 Motion, CSF, Ex. 2, at 25, 44 (“The rights recognized under this

 chapter shall be deemed to have existed before the effective

 date of this chapter.”).      On the third draft, the Legislature

 replaced the retrospective language with prospective language.

 The committee report highlights the change, stating, “Your

 Committee has amended this measure by making the application of

 the chapter prospective to August 1, 2009, in the interests of

 avoiding ambiguity over the time of accrual of any property

 right.”   HPRA Motion, CSF, Ex. 2, at Senate Journals, SCRep.

 770.   The prospective language remained in the fourth draft, but

 was removed in the fifth draft and never reintroduced.           The

 Legislature did not reference the removal of the prospective

 language in the committee reports, but did reference a series of

 “technical, nonsubstantive changes.”

             It is significant that the Legislature’s committee

 reports make explicit the shift from retrospective to

 prospective application of the statute.         Possible prospective

 intent might also be inferred from the Hawaii Legislature’s

 removal of clear retrospective language contained in the

 Washington statute on which the Hawaii bill was based. But the

 Legislature’s ultimate removal of the prospective language

 without comment creates ambiguity as to intent.          That ambiguity

 is amplified because, as discussed in more detail below, the

                                     33
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 34 of 86   PageID #:
                                    4031


 Legislature amended the “purpose” section in the last version of

 the bill to state that the bill was “confirming the existence”

 of a property right rather than “establishing” one, suggesting

 an enforceable right existed prior to the HPRA.          The underlying

 committee report, however, did not reflect this change and still

 referred to “[e]stablishing a property right.”          The Court finds

 that the evolving operative timelines create, rather than

 resolve, ambiguity as to the proper application of the HPRA.

                           B. The “Purpose” of the Statute

             Because the text of the statute is ambiguous, the

 Court may consider the “purpose” of the statute as indicative of

 legislative intent.     HRS § 1-15 (“Where the words of a law are

 ambiguous . . . [t]he reason and spirit of the law, and the

 cause which induced the legislature to enact it, may be

 considered to discover its true meaning.”); Coon v. City & Cty.

 of Honolulu, 98 Haw. 233, 249, 47 P.3d 348, 364 (2002)

 (considering “the ‘purpose’ section of the ordinance” but noting

 that “such policy declarations are not substantive law that can

 expand the express terms of the operative provisions of the

 ordinance”); see also El Comite Para El Bienestar de Earlimart

 v. Warmerdam, 539 F.3d 1062, 1070 (9th Cir. 2008) (interpreting

 a regulation, but relying on “the analogous context of statutory

 construction” to find “the preamble language should not be




                                     34
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 35 of 86   PageID #:
                                    4032


 considered unless the regulation itself is ambiguous” (internal

 quotation marks and citation omitted)).

             The HPRA contains a “purpose” statement in Section 1,

 the preamble.    The first five drafts of the HPRA stated that the

 bill’s purpose was to “establish[] a property right in the

 commercial use of a person’s name, voice, signature, photograph,

 or likeness.”    This language remained unchanged when the

 Legislature included retrospective language, when the

 retrospective language was replaced with prospective language,

 and when the prospective language was removed without comment.

 But in the final enacted version, the Legislature amended this

 to provide, “The purpose of this Act is to confirm the existence

 of a property right in the commercial use of a person’s name,

 voice, signature, or likeness known as the right of publicity.”

 See Opp. to HPRA Motion, CSF, Ex. 2 at 1 (emphasis added).

             Collins LLC argues that this change evidences that the

 HPRA was enacted to “confirm” an existing common law right,

 established in Fergerstrom v. Hawaiian Ocean View Estates, 50

 Haw. 374, 441 P.2d 141, (1968), and “merely codified a method of

 enforcing” that existing right.       Opp. to HPRA Motion at 17

 (citing Hyman, 90 Haw. at 5; S.B. 1005, S.D. 2, H.D.2, C.D.1




                                     35
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 36 of 86    PageID #:
                                    4033


 § 1). 10/   According to Collins LLC, this means the statute should

 be retrospectively applied.       The WGS Companies point out that

 despite this change in the Section 1 “purpose” statement, the

 underlying committee report still states that the Act is

 “establishing” the existence of the property right and does not

 otherwise reference the change.        HPRA Motion, CSF, Ex. 2, at

 Senate Journals, Conf. Com. Rep. 92 on S.B. No. 1005.

             The Court finds that this change adds to the other

 ambiguities in the HPRA as to whether or not the Legislature

 intended retrospective or prospective application.            The

 Legislature did not explain the change from “establishing” to

 “confirming” the right and did not even note the change in its

 committee report.

             Further, no Hawaii court has found the common law

 rights established in Fergerstrom to be nearly as expansive as

 the rights provided in the HPRA.          Turning to the common law

 right, Hawaii recognized “a cause of action for invasion of the

 right of privacy” which was “available for appropriation of name



       10/ Amici make the same argument. See ECF No. 98 at 4 (arguing that the
 Legislature’s use of the word “confirm” rather than the words “establish or
 create” evidence a recognition that “Hawaii had recognized the common law
 cause of action for invasion of a right of privacy where the defendant uses
 the plaintiff’s name or picture without permission in advertising for over 50
 years” (citing Fergerstrom)). Collins LLC argues in its motion that changing
 the language to “confirm” rather than “establish” a right was “perhaps in
 response” to testimony submitted by community member Mark Bernstein. Mr.
 Bernstein attached the Fergerstrom decision to his written testimony and,
 based on the existing rights in the Fergerstrom decision, argued against
 prospective application of the HPRA. Opp. to HPRA Motion at 14 n.8.

                                      36
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 37 of 86     PageID #:
                                    4034


 or picture for commercial purposes.”         Fergerstrom, 50 Haw. at

 377; see also Sampaio v. Chapman, No. CIV.06-00316 HG BMK, 2006

 WL 3097176, at *3 (D. Haw. Oct. 30, 2006) (“In Hawaii, the

 appropriation of a person’s name or likeness for a commercial

 purpose constitutes invasion of privacy.” (citing Fergerstrom)).

 There is limited law on the Fergerstrom common law right, and as

 of 2006 “[t]he Hawaii Supreme Court has yet to establish a test

 determining when an individual’s name or likeness has been

 misappropriated.”     James v. Am. Pac. Univ., No. CV 05-00746

 JMS/BMK, 2006 WL 8436132, at *8 (D. Haw. Mar. 3, 2006); see also

 HPRA Motion at 16-18.      Critically here—and as Collins LLC

 acknowledges—no court has considered whether the common law

 right is alienable or continues to exist after death, let alone

 survives for seventy years. 11/      Opp. to HPRA Motion at 18.

             Collins LLC speculates that Hawaii courts might have

 recognized an alienable, post-mortem, and seventy-year-long

 common law right had the issue been presented.           Opp. to HPRA

 Motion at 19 (arguing the Hawaii Supreme Court “may well have

 deemed the right postmortem”); see also id. at 17-20.             In


       11/ Collins LLC cites to other states that have recognized a common law

 post-mortem descendible right of publicity. Opp. to HPRA Motion at 20. The
 WGS Companies counter that the treatise Collins LLC cites for this
 proposition suggests a descendible common law right lasting only twenty years
 (at most). Reply supporting HPRA Motion at 15. The WGS Companies further
 point out that in each of the cited cases, the plaintiffs brought suit
 substantially sooner after the death of the subject individual (at most, 21
 years) and therefore the cases do not support a post-mortem right lasting as
 long as Collins LLC here asserts (lasting at least 46 years). Reply
 supporting HPRA Motion at 15-16.

                                      37
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 38 of 86    PageID #:
                                    4035


 support of this argument, Collins LLC cites the ability of the

 common law “to expand and adapt to the social, economic, and

 political changes inherent in a vibrant human society.”              Id. at

 19 (quoting Fergerstrom, 50 Haw. at 376).         But Collins LLC cites

 no case, and the Court is aware of none, where a statute

 substantively added to the court’s articulation of common law

 and the statute was nevertheless deemed permissibly

 retrospective.    Rather, this type of retrospectivity-by-virtue-

 of-codification occurs where “prior to the enactment of that

 statute, th[e] court had expressly approved” of the specific

 right.   Roxas v. Marcos, 89 Haw. 91, 155-56, 969 P.2d 1209,

 1273-74 (1998) (finding a statute retrospective where the “clear

 spirit” of the statute, “as unambiguously expressed in the

 conference committee report . . . was to codify the courts’

 preexisting discretion to award prejudgment interest,” and

 “prior to the enactment of that statute, this court had

 expressly approved of the award of prejudgment interest”); see

 also Matter of Christian’s Estate, 65 Haw. 394, 400 n.11, 652

 P.2d 1137, 1141 (1982) (“We need not decide whether this

 provision may be applied retroactively to this instant fact

 situation, for we find that . . . section 3–101 represents the

 common and case law as followed in Hawaii prior to the enactment

 of the Uniform Probate Code.” (emphasis added)).          Prior to the

 enactment of the HPRA, Hawaii courts had not recognized the

                                     38
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 39 of 86   PageID #:
                                    4036


 features of a common law publicity right that Collins LLC now

 invokes.

             The Court concludes that the legislative history, like

 the text of statute, is ambiguous.        Accordingly, the Court

 considers whether retrospective application of the HPRA to the

 WGS Companies would impact their existing rights.

          e. The Hawaii Publicity Rights Act Affects Substantial
             Existing Rights of the WGS Companies

             Because the statutory text and legislative history are

 ambiguous, the Court considers whether application to Defendants

 here would involve retrospective operation under the United

 States Supreme Court’s definition.        Specifically,

             we ask whether applying the statute to the person
             objecting would have a retroactive consequence in
             the disfavored sense of “affecting substantive
             rights, liabilities, or duties [on the basis of]
             conduct arising before [its] enactment,” [quoting
             Landgraf v. USI Film Prod., 511 U.S. 244, 278, 114
             S. Ct. 1483, 1504, 128 L. Ed. 2d 229 (1994)]. If
             the answer is yes, we then apply the presumption
             against retroactivity by construing the statute as
             inapplicable to the event or act in question owing
             to the “absen[ce of] a clear indication from
             Congress that it intended such a result.” INS v.
             St. Cyr, 533 U.S. 289, 316, 121 S. Ct. 2271, 150 L.
             Ed. 2d 347 (2001).

 Fernandez-Vargas v. Gonzales, 548 U.S. 30, 37–38, 126 S. Ct.

 2422, 2428, 165 L. Ed. 2d 323 (2006) (emphasis added, some

 citations omitted).

             Here, applying the HPRA to the WGS Companies would

 impair their prior substantial existing rights.          It is

                                     39
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 40 of 86   PageID #:
                                    4037


 undisputed that Defendant William Grant & Sons, Inc. entered

 into a distribution agreement back in 2001—eight years prior to

 the HPRA’s enactment—to assist in creating Sailor Jerry rum.

 Compl. ¶ 39.    Defendant William Grant & Sons, Inc. then entered

 to an amendment to that agreement in 2003—five years prior to

 the HPRA’s enactment.      Laches Motion, CSF, Ex. 2.      Defendant

 William Grant & Sons, Ltd. then purchased the brand outright in

 2008—one year prior to the HPRA’s enactment.         Compl. ¶¶ 41-42.

 The WGS Companies conducted each of those transactions in

 reliance on the law as it existed at the time.

             Specifically, the WGS Companies explained at the

 hearing that they understood their interest in the Sailor Jerry

 IP was based on trademark, trade name, and copyright laws.

 There was no practical way for the WGS Companies to consider how

 those interests might be later limited, or undermined

 completely, by the then-nonexistent HPRA.         For example, the WGS

 Companies argue that, in purchasing Sailor Jerry’s business,

 Malone purchased Sailor Jerry’s trade name from Mrs. Collins in

 1973.    Malone then agreed to share the purchased rights with Ed

 Hardy.    By 1999, the two had created the entity Sailor Jerry

 Limited to make and market Sailor Jerry merchandise; by 2001

 that merchandise included the product “Sailor Jerry rum”

 (involving the above-referenced distribution agreement with

 Defendant William Grant & Sons Inc.).        In 2003, Malone and Hardy

                                     40
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 41 of 86    PageID #:
                                    4038


 assigned their purported interests in the Sailor Jerry IP to the

 entity Sailor Jerry Limited, and Defendant William Grant & Sons,

 Ltd. purchased Sailor Jerry Limited in 2008.           The WGS Companies

 have since continued to market and sell Sailor Jerry rum and

 other merchandise using the Sailor Jerry IP.           The Court finds

 that the retrospective operation of the HPRA to strip the WGS

 Companies of the acquired interest would be a substantial

 impairment of their rights.

              Further, at the time the WGS Companies’ purchased the

 Sailor Jerry brand, their liability was limited to the common

 law.    Thereunder, the WGS Companies would not be faced with a

 clear liability period of 70 years from the date of Sailor

 Jerry’s death.     In fact, the WGS Companies may not have been

 subject to any liability whatsoever since no Hawaii court has

 yet found the common law invasion of privacy right to be

 alienable or survive death. 12/

              Applying the HPRA to the WGS Companies would newly

 subject them to the statutory liability amounts as well.             Under

 the HPRA, infringers are “liable for the greater of $10,000 or

 the actual damages sustained as a result of the infringement,

 and any profits that are attributable to the infringement.”              HRS

 § 482P-6.     Where a statute increases the WGS Companies’


        12/
          The Court makes no findings on the scope of the common law right, but
 notes the nebulous contours of that common law right stand in contrast to the
 clear and relatively extensive protections of the HPRA.

                                      41
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 42 of 86    PageID #:
                                    4039


 liability, it is a substantive impairment of their existing

 rights.   Clark, 64 Haw. at 78 (an amendment that increased the

 statutory liability cap from $20,000 to $40,000 impacted

 substantive rights and could not be retrospectively applied).

             If the HPRA created a property right in Sailor Jerry’s

 name and image that passed to his heirs in 2009, that would

 functionally divest the WGS Companies of the substantial

 existing rights in the Sailor Jerry brand that existed prior to

 the enactment of the HPRA.       Because “applying the statute to the

 person objecting would have a retroactive consequence in the

 disfavored sense,” Fernandez-Vargas, 548 U.S. at 37–38 (emphasis

 added), and giving consideration to “fair notice, reasonable

 reliance, and settled expectations,” Landgraf, 511 U.S. at 270,

 the Court holds that any rights the WGS Companies legally

 obtained under existing laws prior to enactment of the HPRA

 cannot be displaced by the subsequent retrospective operation of

 the HPRA.

             Based on the foregoing, the Court GRANTS the WGS

 Companies’ HPRA Motion for summary judgment on their

 Counterclaim Count Two. 13/




       13/ The Court reiterates that the WGS Companies have not sought relief

 with respect to Counts One and Two of the First Amended Complaint (other than
 with respect to laches); and accordingly, the Court has not made any ruling
 regarding Counts One and Two of the First Amended Complaint, although some of
 the Court’s findings herein may affect those counts.

                                      42
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 43 of 86   PageID #:
                                    4040


II.     Unjust Enrichment

             Collins LLC pleads an unjust enrichment claim in the

 alternative to its statutory and common law right of publicity

 claims.    Compl. ¶ 66.

               To recover on an unjust enrichment claim, Collins

 LLC must prove that: (1) it conferred a benefit on the WGS

 Companies; and (2) the WGS Companies unjustly retained the

 benefit at Collins LLC’s expense.        Durette v. Aloha Plastic

 Recycling, Inc., 105 Haw. 490, 503-04 & n.9, 100 P.3d 60, 73-74

 (2004) (stating that a valid “claim for unjust enrichment

 requires only that a plaintiff prove that he or she ‘confer[red]

 a benefit upon’ the opposing party and that the ‘retention [of

 that benefit] would be unjust,’” and noting the claim seeks to

 cure “the unjust enrichment of one person at the expense of

 another” (brackets in original) (quoting Small v. Badenhop, 67

 Haw. 626, 635-36 & n.12, 701 P.2d 647, 654 (1985))); Chapman v.

 Journal Concepts, Inc., 2008 WL 5381353, at *21 (D. Haw. 2008)

 (quoting Small, and dismissing the unjust enrichment claim based

 on “Plaintiff’s fatal failure to demonstrate” both “that he

 conveyed a benefit” and “that Defendants have unjustly retained

 any benefit at his expense”).       In reviewing unjust enrichment

 claims, courts must be guided by the “underlying conception of

 restitution, the prevention of injustice.”         Durette, 105 Haw. at

 503.

                                     43
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 44 of 86   PageID #:
                                    4041


             Collins LLC seeks restitution on its unjust enrichment

 claim.   Compl. ¶ 69.    Although “state law affords the rule of

 decision,” the Ninth Circuit recently made clear “that a federal

 court must apply traditional equitable principles before

 awarding restitution.”      Sonner v. Premier Nutrition Corp., 962

 F.3d 1072, 1078, 1080 (9th Cir. 2020).        Here, the relevant

 equitable principle is the same under federal and state law

 regardless:    Collins LLC “must establish that [it] lacks an

 adequate remedy at law before securing equitable restitution.”

 Id. at *3.

          a. Adequate Remedy at Law

             The WGS Companies argue that Collins LLC has an

 adequate remedy at law in the form of its statutory and common

 law invasion of privacy claims.       Collins LLC responds that the

 legal remedies available under the HPRA and common law invasion

 of privacy claims may be insufficient to offer it a complete

 remedy, and its unjust enrichment claim should therefore be

 allowed to survive.

             Collins LLC has alleged the same conduct to support

 both its legal and equitable claims.        Accordingly, if the legal

 claims fail, it follows that Collins LLC would not have shown

 any wrongful conduct on the part of the WGS Companies and the

 unjust enrichment claim must fall in tandem.         Any benefit

 received would not have been without adequate legal basis and

                                     44
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 45 of 86   PageID #:
                                    4042


 would not have been unjustly retained.         Coto Settlement v.

 Eisenberg, 593 F.3d 1031, 1041 (9th Cir. 2010) (Where the

 plaintiff brought both a conversion and restitution claim,

 “[u]njust enrichment is essentially another way of stating a

 tort claim and, consequently, once the underlying tort claim is

 dismissed, so is the unjust enrichment claim.”).          Equity does

 not function to resuscitate otherwise lost legal actions.            To

 hold otherwise would enable any losing plaintiff to convert the

 lost legal claim into one for unjust enrichment.          See Aquilina

 v. Certain Underwriters at Lloyd’s, No. CV 18-00496-ACK-KJM,

 2020 WL 3086549, at *14 (D. Haw. June 10, 2020).

             If Collins LLC’s statutory or common law claims were

 to (1) prevail and (2) offer insufficient damages, unjust

 enrichment may plausibly fill in that gap.         In a case that has

 been routinely cited for unjust enrichment claims, Hawaii’s

 Intermediate Court of Appeals wrote:

             However, Defendants fail to show that the contract
             actually addressed a situation like this—where
             Defendants are alleged to have wrongfully subverted
             the contractual relationship to deprive Plaintiffs
             of their books of business. Moreover, the circuit
             court did not, as Defendants contend, convert a
             contract case into an equity case, thereby
             depriving Defendants of a jury trial. Rather, the
             circuit court conducted a jury trial on the matters
             triable to a jury and also imposed an equitable
             remedy upon determining that the contract remedies
             available did not adequately address Defendants’
             unjust enrichment (a matter within the circuit
             court’s discretion).


                                     45
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 46 of 86    PageID #:
                                    4043


             Plaintiffs also lacked an appropriate tort remedy.
             Although the jury returned a verdict in their favor
             and awarded tort damages, Plaintiffs contend the
             jury’s award was insufficient to adequately
             compensate their losses as a result of Defendants’
             wrongful   conduct.      This   court  agrees  with
             Plaintiffs and concludes that the mere availability
             of some figure of tort damages does not by itself
             preclude an award founded on unjust enrichment. As
             Palmer notes in his treatise on restitution, “[t]he
             objectives of the two remedies are different,
             however: in the damage action the plaintiff seeks
             to recover for the harm done to him, whereas in the
             restitution action he seeks to recover the gain
             acquired by the defendant through the wrongful
             act.” 1 George E. Palmer, The Law of Restitution §
             2.1, at 51 (1978). Although the tort and unjust
             enrichment claims are, in a sense, founded on the
             same    wrongful    conduct—the    deprivation   of
             Plaintiffs’ books of business by Defendants—the
             remedies sought are sufficiently distinct, in this
             court’s view, to exclude this case from the realm
             of “double recovery” situations.


 Porter v. Hu, 116 Haw. 42, 55–56, 169 P.3d 994, 1007–08 (Ct.

 App. 2007). 14/

             In contrast, cases dismissing unjust enrichment claims

 based on an adequate remedy at law involve differing claims for

 the same remedy.     See Sonner, 962 F.3d at 1081 (“Sonner fails to

 explain how the same amount of money for the exact same harm is

 inadequate” (emphasis added)); Aquilina, 2020 WL 3086549 at *14

 (dismissing an unjust enrichment claim where the plaintiffs



       14/ The Court notes that the ICA did indicate that, “While no Hawai‘i

 case explicitly endorses this principle, this court views it as a logical
 extension of the principle set forth above in Regency Tower Venture, and
 therefore we endorse its application in situations like this one.” Porter,
 116 Haw. at 55.

                                      46
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 47 of 86   PageID #:
                                    4044


 “alleged the same conduct” and “the exact same damages” to

 “support their legal and equitable claims”); Soule v. Hilton

 Worldwide, Inc., 1 F. Supp. 3d 1084, 1103 (D. Haw. 2014)

 (dismissing an unjust enrichment claim where the plaintiff

 “fail[ed] to indicate how the damages she would receive” under

 her legal claims were “inadequate,” and the claim was barred by

 an express contract regardless); Davis v. Four Seasons Hotel

 Ltd., No. CIV. 08-00525 HG-BMK, 2011 WL 5025521, at *6 (D. Haw.

 Oct. 20, 2011) (dismissing an unjust enrichment claim because

 the plaintiffs’ statutory claim “preclude[d] the assertion of an

 unjust enrichment claim seeking the same damages”).

             The Court notes that the major relief Collins LLC

 seeks for its unjust enrichment claim is disgorgement.           Compl.

 ¶ 69.   Collins LLC seeks that same remedy for its first cause of

 action, “Violation of Hawaii’s Law Against Misappropriation of

 Plaintiff’s Right to Publicity.”         Compl. ¶ 53.   Collins LLC’s

 first cause of action is, however, largely reliant on the HPRA,

 which the Court has already found may not be retrospectively

 applied to the WGS Companies in this case.         Given that the Court

 granted the WGS Companies summary judgment on the non-

 retrospectivity of the HPRA as applied to them, Collins LLC’s

 first cause of action may ultimately fail to offer an adequate

 legal remedy.




                                     47
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 48 of 86   PageID #:
                                    4045


             Collins LLC’s remaining causes of action seek

 differing remedies from the unjust enrichment claim.           Compare

 Compl. ¶ 69 (on the unjust enrichment claim, seeking

 “restitution in the form of a constructive trust, disgorgement

 of Defendants’ illgotten profits, money payment, and/or any

 other relief that this Court deems appropriate”) with ¶ 61 (on

 the cancellation of publicity rights claim, asking that

 Defendant William Grants & Sons, Limited’s “Certificate of

 Registration of Publicity Rights Name number 270004” be “be

 cancelled and deleted from the public DCCA registry”) and ¶¶ 63,

 64 (on the invasion of privacy claim, seeking “injunctive

 relief, damages, and any other relief that this Court deems

 appropriate,” as well as “declaratory relief that Sailor Jerry’s

 common law right of publicity survived his death”).

             Accordingly, the Court finds that Collins LLC may lack

 an adequate remedy at law.      However, Collins LLC’s unjust

 enrichment claim nevertheless fails because it does not show a

 benefit was conferred at Collins LLC’s expense.

          b. Conferral of a Benefit

             “Typically, a claim for unjust enrichment arises out

 of an allegation that the plaintiff has bestowed a benefit in

 money, property, or services upon the defendant, and the

 plaintiff then seeks some form of relief in equity to prevent

 the unjust enrichment of the defendant.”         Lumford v. Yoshio Ota,

                                     48
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 49 of 86   PageID #:
                                    4046


 144 Haw. 20, 25, 434 P.3d 1215, 1220 (Ct. App. 2018).           Here,

 Collins LLC argues that the benefit conferred “is the value of,

 and the economic benefits flowing from, the exclusive right to

 exploit the Persona of Sailor Jerry (as defined in HRS 482P).”

 Opp. to Enrichment Motion at 4.       According to Collins LLC,

 “Defendants have exploited the stolen publicity rights,” which

 “Defendants and their predecessors-in-interest never legally

 acquired.”    Id.   The WGS Companies respond that this very logic

 is “antithetical to an unjust enrichment claim” since, if the

 rights were stolen, they were necessarily never “conferred.”

 Enrichment Motion at 13.

             As stated above, unjust enrichment requires a showing

 that a benefit was conferred on the WGS Companies at the expense

 of Collins LLC.     Collins LLC fails to articulate any loss it

 suffered in connection with the WGS Companies’ use of the Sailor

 Jerry IP, and Collins LLC lacked any expectation of monetary

 benefit from the WGS Companies’ use thereof.

             As to the WGS Companies’ use of the Sailor Jerry IP,

 Collins LLC’s claim fails because the benefit bestowed on the

 WGS Companies must correspond with a loss suffered by Collins

 LLC.   Chapman v. Journal Concepts, Inc., No. CIV. 07-00002

 JSM/LE, 2008 WL 5381353, at *21 (D. Haw. Dec. 24, 2008); see

 also Cabbat v. Philip Morris USA, Inc., No. CIV. 10-00162 DKW,

 2014 WL 32172, at *12 (D. Haw. Jan. 6, 2014) (resolving whether

                                     49
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 50 of 86   PageID #:
                                    4047


 the defendant “has received a benefit unjustly turns on a

 determination of whether there was some injury to the

 [individual plaintiffs] that would not have otherwise

 occurred”).    Collins LLC here points to the WGS Companies’

 economic gains from the purportedly stolen Sailor Jerry IP but

 does not show that those gains corresponded to any loss on its

 part.   See, e.g., Compl. ¶ 50 (stating generically that

 “Defendants have been unjustly enriched and Plaintiff has

 suffered injury,” but failing to identify how Collins LLC was

 injured by the WGS Companies’ gains).        Cf. Porter v. Hu, 116

 Haw. 42, 53, 169 P.3d 994, 1005 (Ct. App. 2007) (finding unjust

 enrichment where “Plaintiffs each developed a book of

 business . . . that they justifiably anticipated would generate

 substantial renewal commissions” but because of “Defendants’

 improper conduct, Plaintiffs lost, and AIA received, a portion

 of Plaintiffs’ books of business that generated for AIA

 $714,000.00 in gross commissions”).

             Preceding this lawsuit, Collins LLC’s conduct and

 finances (and that of its members) would have been virtually

 identical had the WGS Companies and their predecessors never

 created Sailor Jerry rum or sold any merchandise.          Collins LLC

 had not interacted with the WGS Companies prior to this




                                     50
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 51 of 86     PageID #:
                                    4048


 lawsuit, 15/ had no expectation to benefit from the WGS Companies’

 use of the Sailor Jerry IP, and in fact asserts that the WGS

 Companies were using the Sailor Jerry IP for approximately eight

 years before Collins LLC even knew that the WGS Companies’

 products existed.

             “Where Plaintiff has not suffered a loss, his claim of

 unjust enrichment cannot prevail.”         Chapman v. Journal Concepts,

 Inc., No. CIV. 07-00002 JSM/LE, 2008 WL 5381353, at *21 (D. Haw.

 Dec. 24, 2008).     In Chapman, the plaintiff brought a defamation

 claim and an unjust enrichment claim.          Although the court found

 certain sufficient allegations of defamation, it dismissed the

 claim for unjust enrichment because “Plaintiff has not shown

 that Defendants have unjustly retained any benefit at his

 expense.”    Id. (internal citation omitted); see also Miracle v.

 New Yorker Magazine, 190 F. Supp. 2d 1192, 1203 (D. Haw. 2001)

 (dismissing an unjust enrichment claim brought alongside a

 defamation claim in part because the plaintiff “has not alleged

 or demonstrated that she conferred any benefit to The New

 Yorker that requires restitution”); Evans v. Crowe & Mulvey,

 LLP, No. CV 20-00082 JMS-KJM, 2020 WL 2748484, at *5 (D. Haw.



       15/ Mrs. Collins does refer to making an announcement of her displeasure

 at a 2009 tattoo convention where there was a sizable Sailor Jerry rum
 display, but she did not know if any employees or representatives of the WGS
 Companies heard her announcement. Collins Dep. at 70. Leading up to this
 lawsuit, the WGS Companies also intervened in the 2018 probate proceeding
 mentioned above.

                                       51
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 52 of 86    PageID #:
                                    4049


 May 27, 2020) (plaintiff’s allegation that defendants posted a

 video of him on YouTube without his permission and gained

 royalties therefrom did not state a claim for unjust enrichment,

 in part because “it is not at all clear whether Plaintiff

 bestowed a benefit to one or more Defendants”). 16/

             Collins LLC attempts to characterize its loss as the

 WGS Companies’ failure to compensate it for the Sailor Jerry IP,

 despite the WGS Companies’ extensive profits therefrom.              Opp. to

 Enrichment Motion at 7 (pointing to allegations “that Defendants

 have retained all of the benefits and profits from the Sailor

 Jerry brand, that they have never provided Plaintiff any

 compensation for doing so, and that the Defendants’ retention of

 these significant financial benefits has been at the expense and

 to the detriment of Plaintiff”).          But Collins LLC has not

 alleged that it had any expectation to benefit from the sale of

 Sailor Jerry rum and other merchandise, nor has it adequately

 alleged how the WGS Companies’ benefit was obtained at its

 expense.

             Collins LLC incorrectly relies on Lumford for this

 argument.    Lumford involved the transfer of a house.          The



       16/ The WGS Companies additionally cite persuasive authority from other

 circuits finding that “unauthorized use of publicity (and similar rights)
 cannot, as a matter of law, support an unjust enrichment claim.” Reply at 3;
 see also Enrichment Motion at 12-14 (both citing, inter alia, Pellegrino v.
 Epic Games, Inc., 2020 WL 1531867, Civil Action No. 19-1806 (E.D. Pa. March
 31, 2020)).

                                      52
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 53 of 86     PageID #:
                                    4050


 plaintiff’s aunt owned a house and purportedly transferred it to

 the defendant on the understanding that the defendant would

 transfer the house to the plaintiff once she reached the

 requisite maturity.      Id. at 22.     The defendant instead sold the

 house, and then argued the plaintiff had no claim for unjust

 enrichment since the aunt—and not the plaintiff—was the one who

 conferred the benefit of the house on the defendant.             Id.   The

 Hawaii Appellate Court rejected this argument, finding that even

 though the third-party aunt had conveyed the benefit on the

 defendant, the plaintiff could still maintain a cause of action

 for unjust enrichment if she could show a clearly superior

 entitlement to the house. 17/      Id. at 27-28.

             But in Lumford, the plaintiff had an expectation in

 the benefit of the house, and absent the defendant’s misconduct,

 the plaintiff would have had the house.          The defendant’s benefit

 was thus squarely at the expense of the plaintiff.             In contrast,

 Collins LLC here has not alleged any expectation to benefit from

 the sale of Sailor Jerry rum and other merchandise.             Absent



       17/ In carving this exception for the third-party conferral of a benefit,

 the Lumford court was clear that the exception is narrow. It applies “in
 limited circumstances,” where “a third party has conferred a benefit upon a
 defendant to which the plaintiff claims he or she has a superior legal or
 equitable right.” Lumford, 144 Haw. at 27. The court emphasized that it
 would “not suffice to make out a claim in restitution” if the plaintiff
 “merely” proved “that the defendant has received a windfall, that the
 claimant has been ill-treated, and that the third party’s payment to the
 defendant (or the defendant’s retention of payment as against the claimant)
 violates rules of good faith, basic fairness, or common decency.”
 Id. (internal quotation marks and citation omitted).

                                       53
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 54 of 86    PageID #:
                                    4051


 Defendants’ alleged misconduct, those monetary benefits would

 not exist at all, and certainly would not otherwise flow to

 Collins LLC.      Thus, although Collins LLC has alleged that

 Defendants were enriched by the sales, it has still failed to

 allege that enrichment was at its expense.

                As Hawaii courts have recognized, unjust enrichment

 does not address “all injustice but rather one special variety:

 the unjust enrichment of one person at the expense of another.”

 Small v. Badenhop, 67 Haw. 626, 636 n.12, 701 P.2d 647, 654

 (1985) (quoting 1 G. Palmer, The Law of Restitution § 1.1

 (1978)). 18/    Collins LLC has not adequately alleged any loss from

 the WGS Companies’ use of the Sailor Jerry IP and lacks any

 separate interest in the WGS Companies’ profits therefrom.

             Accordingly, the Court GRANTS the WGS Companies’

 Motion for Judgment on the Pleadings, and DISMISSES without

 prejudice Collins LLC’s claim for unjust enrichment.




       18/The Small court found that the defendant had been unjustly enriched
 where the plaintiffs had conveyed real property to the defendants in reliance
 on a confidential relationship and oral promises of payment that were never
 fulfilled. Specifically, the parties had agreed to work together and attempt
 improvements on the relevant parcels of land. “To further this attempt,” the
 plaintiffs, upon request of the defendant, “transferred title to a parcel of
 land, which [the plaintiffs] had purchased for $1,500, to [the defendant] for
 a nominal consideration and also made it possible for him to acquire another
 parcel, which they had originally agreed to buy, for less than its actual
 value.” 67 Haw. at 635. Because of the confidential relationship between
 the parties, the court held that “[i]t would be unjust if the Badenhops were
 permitted to retain the entire benefit of the transactions.” Id. at 637. In
 Small, unlike here, the benefit to the defendants clearly corresponded to the
 loss suffered by plaintiffs.

                                      54
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 55 of 86    PageID #:
                                    4052


III.   The Doctrine of Laches

             The WGS Companies assert that the doctrine of laches

 bars all of Collins LLC’s claims.         Because laches relies on the

 Court’s equitable powers, the Court applies federal equitable

 principles.    Sonner, 962 F.3d at 1078 (“It has been a

 fundamental principle for well over a century that state law

 cannot expand or limit a federal court’s equitable authority.”).

             “Laches is an equitable time limitation on a party's

 right to bring suit, resting on the maxim that one who seeks the

 help of a court of equity must not sleep on his rights.”             Jarrow

 Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 835 (9th

 Cir. 2002) (internal quotations marks and citation omitted).

 While statutes of limitation bar untimely legal causes of

 action, “[l]aches serves as the counterpart to the statute of

 limitations, barring untimely equitable causes of action.” 19/

 Id.   The distinction between the two has been emphasized by the

 Supreme Court, which held that “in face of a statute of

 limitations enacted by Congress, laches cannot be invoked to bar




       19/As the WGS Companies explain in their briefs, this distinction is no
 longer relevant under Hawaii law, where, today “laches is a defense in all
 civil actions” even though the doctrine arose as a defense only in equitable
 actions. Ass’n of Apartment Owners of Royal Aloha v. Certified Mgmt., Inc.,
 139 Haw. 229, 235, 386 P.3d 866, 872 (2016). Collins LLC originally filed
 this action in state court, where the WGS Companies could have invoked
 Hawaii’s rules. Having removed the action to federal court, the WGS
 Companies cannot now complain that they are faced with federal principles of
 equity.

                                      55
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 56 of 86   PageID #:
                                    4053


 legal relief.”    Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S.

 663, 679, 134 S. Ct. 1962, 1974, 188 L. Ed. 2d 979 (2014).

             The WGS Companies’ motion for summary judgment on the

 basis of laches seeks dismissal of all four of Collins LLC’s

 causes of action.     Because the Court has already found that the

 HPRA does not apply retrospectively to the WGS Companies, the

 Court only addresses the laches argument as to the common law

 right to privacy and the unjust enrichment causes of action. 20/

             a. Laches is an Equitable Defense

             Laches may be applied to Collins LLC’s claims for

 common law invasion of privacy and unjust enrichment only to the

 extent that those claims seek equitable relief.

             The Supreme Court has considered the doctrine of

 laches in relation to different bodies of intellectual property

 legislation.     In the context of damages actions under copyright

 and patent law, the Supreme Court has held that laches does not

 apply because in the Copyright and Patent Acts, Congress enacted


       20/Although Collins LLC’s unjust enrichment claim was above dismissed
 without prejudice, the Court finds it prudent to address this additional
 argument for dismissal since laches could bar the claim even if properly
 pled. The Court does not, however, address the application of laches to
 Collins LLC’s first and second causes of action. Although the Court does not
 herein dismiss those causes of action, it is unclear what, if any, bases
 remain for those causes of action in light of the Court’s holding on
 retrospectivity. The Court need not speculate because the Court ultimately
 grants Collins LLC’s Rule 56(d) request for additional time to conduct
 discovery, and accordingly denies the Laches Motion at this time. If the WGS
 Companies again move for summary judgment on the basis of laches after
 Collins LLC has had time to complete discovery, the parties should address
 what claims or relief remain viable under the first and second causes of
 action in light of the Court’s holdings herein, and the Court will address
 the arguments at that time.

                                      56
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 57 of 86    PageID #:
                                    4054


 specific statutes of limitation.          “Laches is a gap-filling

 doctrine, and where there is a statute of limitations, there is

 no gap to fill.”     SCA Hygiene Prod. Aktiebolag v. First Quality

 Baby Prod., LLC, 137 S. Ct. 954, 961, 197 L. Ed. 2d 292 (2017)

 (laches does not apply to claims for damages under the Patent

 Act because the Patent Act has an explicit six-year limitation

 period) (citing Petrella, 572 U.S. at 667 (laches “cannot be

 invoked to preclude adjudication of a claim for damages brought

 within [the Copyright Act’s express] three-year window”)).              In

 contrast, laches has been routinely invoked in trademark cases

 because the governing Lanham Act “contains no statute of

 limitations, and expressly provides for defensive use of

 ‘equitable principles, including laches.’”          Petrella, 572 U.S.

 663, 678 n.15 (noting the dissent “fail[ed] to observe that

 Lanham Act contains no statute of limitations”).            Collins LLC’s

 unjust enrichment claim and its invasion of privacy claim are

 both common law causes of action without specific legislatively-

 imposed statutes of limitation, and laches may therefore bar

 untimely assertion of those claims. 21/        Cf. Petrella, 572 U.S.

 663.

              The application of laches is limited, however, to

 Collins LLC’s claims for equitable relief.          Petrella, 572 U.S.


        21/
          As discussed infra, each claim relies on generic limitations periods
 broadly encompassing “damages to person” or else the “catch-all” limitations
 periods.

                                      57
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 58 of 86     PageID #:
                                    4055


 at 678 (“this Court has cautioned against invoking laches to bar

 legal relief” because “laches is a defense developed by courts

 of equity; its principal application was, and remains, to claims

 of an equitable cast for which the Legislature has provided no

 fixed time limitation”); City of Sherrill, N.Y. v. Oneida Indian

 Nation of New York, 544 U.S. 197, 217, 125 S. Ct. 1478, 1491,

 161 L. Ed. 2d 386 (2005) (laches “may bar long-dormant claims

 for equitable relief”); Jarrow Formulas, 304 F.3d at 835

 (“Laches serves as the counterpart to the statute of

 limitations, barring untimely equitable causes of action.”).

             Because “[u]njust enrichment is an equitable rather

 than a legal claim,” McKesson HBOC, Inc. v. New York State

 Common Ret. Fund, Inc., 339 F.3d 1087, 1091 (9th Cir. 2003),

 laches may apply.      Collins LLC’s common law invasion of privacy

 claim, however, appears to seek both equitable relief (in the

 form of an injunction) and legal relief (damages). 22/

 Accordingly, laches may apply to the invasion of privacy claim

 only to the extent that it seeks equitable relief. 23/           Petrella,


       22/ While damages are typically considered a legal remedy, certain types

 of damages claims are properly viewed as equitable. City of Monterey v. Del
 Monte Dunes at Monterey, Ltd., 526 U.S. 687, 710–11, 119 S. Ct. 1624, 1639,
 143 L. Ed. 2d 882 (1999) (noting the “general rule that monetary relief is
 legal” but referencing certain “monetary remedies available in equity” such
 as “equitable restitution”).
       23/ To the extent that the common law invasion of privacy claim seeks

 legal relief, it would not be susceptible to a laches defense; although in
 that event it may be barred by the statute of limitations. However, the
 Court will not at this time address the statute of limitations issue as the
 WGS Companies have not sought dismissal of Collins LLC’s common law right of
 publicity in Count Three of the First Amended Complaint except on laches.

                                       58
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 59 of 86   PageID #:
                                    4056


 572 U.S. at 667-68 (finding that “laches may bar at the very

 threshold the particular [equitable] relief” in certain

 circumstances, as distinguished from the claim for damages, to

 which laches could not apply); Danjaq LLC v. Sony Corp., 263

 F.3d 942, 960 (9th Cir. 2001) (finding “laches may bar

 prospective injunctive relief” “when, as here, the feared future

 infringements are identical to the alleged past infringements”).

             b. Elements of a Laches Claim

             “Although laches is distinct from a statute of

 limitation, we make laches determinations ‘with reference to the

 limitations period for the analogous action at law.’”           Eat Right

 Foods Ltd. v. Whole Foods Mkt., Inc., 880 F.3d 1109, 1115 (9th

 Cir. 2018) (quoting Jarrow Formulas, 304 F.3d at 835–36). “If

 the plaintiff filed within that period, there is a strong

 presumption against laches.       If the plaintiff filed outside that

 period, the presumption is reversed.”        Id. (quoting Tillamook

 Country Smoker, Inc. v. Tillamook Cty. Creamery Ass’n, 465 F.3d

 1102, 1108 (9th Cir. 2006)).

             To prove laches, a defendant must show two elements:

 that the plaintiff unreasonably delayed in bringing its claims,

 and that the defendant was prejudiced by that delay.           Evergreen

 Safety Council v. RSA Network Inc., 697 F.3d 1221, 1226 (9th

 Cir. 2012).




                                     59
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 60 of 86   PageID #:
                                    4057


           c. A Presumption of Laches Applies

             The Court finds that the unjust enrichment claim would

 be subject to a six-year limitations period, while the invasion

 of privacy claim would be subject to a two-year limitations

 period.    Either of limitation periods would begin to run when

 Collins LLC had knowledge of the allegedly infringing use and

 would have therefore expired.       Accordingly, a presumption of

 laches applies.

                 1. Two- and Six-Year Statutes of Limitations Apply

             In Hawaii, a “claim for unjust enrichment is subject

 to a six-year limitations period under HRS § 657-1.”           Honolulu

 Acad. of Arts v. Greene, No. 15-00355 DKW-KSC, 2016 WL 4522667,

 at *6 (D. Haw. Aug. 29, 2016).

             As to the common law invasion of privacy claim, the

 Hawaii Supreme Court has referenced, albeit in dicta, that “the

 tort limitations period for ‘damages to person’ in HRS § 657-7

 seemingly appl[ies]” in “actions for invasion of privacy” even

 though “the interests protected are intangible in nature.”             Higa

 v. Mirikitani, 55 Haw. 167, 170, 517 P.2d 1, 4 (1973).           The

 court made this assertion despite a party raising the “catch-

 all” provision HRS § 657-1, leaving no doubt that the court

 found the “damages to person” statute, and not the catch-all,

 governed invasion of privacy actions.        Id. at 169 (stating the

 plaintiff had argued for the limitations period “for personal

                                     60
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 61 of 86   PageID #:
                                    4058


 actions ‘not specifically covered’ elsewhere” (citing HRS § 657-

 1)).

             Citing Higa, a court in this district later relied on

 the two-year limitations period in HRS § 657-7 for an invasion

 of privacy claim.     Haldeman v. Golden, No. 05-00810 DAE-KSC,

 2007 WL 521842, at *2 (D. Haw. Feb. 13, 2007).          Another court in

 this district applied the two-year limitations period governing

 defamation claims to a false light invasion of privacy claim.

 Shipley v. Hawaii, No. CIV 05-00145 JMS/BMK, 2006 WL 2474059, at

 *3 (D. Haw. Aug. 24, 2006).       Accordingly, the Court finds a two-

 year limitations period would apply to the invasion of privacy

 claim.

                 2. When the Limitation Periods Began to Run

             The parties fundamentally disagree on how the statutes

 of limitation operate with regard to the WGS Companies’ ongoing

 use of the Sailor Jerry’s IP.       The WGS Companies argue that the

 limitations period began to run when Mrs. Collins became aware

 of the allegedly infringing conduct; at a minimum, this occurred

 when Mrs. Collins saw a bottle of Sailor Jerry rum in 2009.

 Laches Motion at 16-20.      In contrast, Collins LLC argues that

 every bottle of rum (or other product) sold featuring Sailor

 Jerry represents a discrete violation and triggers its own

 limitations period.     Collins LLC thus argues that all sales




                                     61
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 62 of 86     PageID #:
                                    4059


 within the six years preceding the filing of its lawsuit are

 within the limitations period.        Opp. to Laches Motion 9-14.

             Because Hawaii courts have not specifically addressed

 this issue, both Collins LLC and the WGS Companies cite to

 copyright law as the most analogous statutory scheme. 24/            The

 Court agrees that copyright law is instructive and concludes

 that, because this lawsuit boils down to an ownership dispute,

 the statute of limitations began to run at the latest when Mrs.

 Collins discovered the bottle of Sailor Jerry rum in 2009.

             Arguing to the contrary, Collins LLC invokes the

 separate-accrual rule relied on in the United States Supreme

 Court decision Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S.

 663, 134 S. Ct. 1962, 188 L. Ed. 2d 979 (2014).            Under the

 separate-accrual rule, a defendant commits a new violation of

 the Copyright Act each time an infringing work is reproduced or

 distributed.     Id. at 671.    A plaintiff may only recover for the

 discrete violations that occurred within the three-year

 limitations period immediately preceding the lawsuit, but




       24/ “A federal court sitting in diversity applies the substantive law of

 the state, including the state’s statute of limitations.” Albano v. Shea
 Homes Ltd. P’ship, 634 F.3d 524, 530 (9th Cir. 2011); see also Guar. Tr. Co.
 of N.Y. v. York, 326 U.S. 99, 110, 65 S. Ct. 1464, 1470, 89 L. Ed. 2079
 (1945) (“if a plea of the statute of limitations would bar recovery in a
 State court, a federal court ought not to afford recovery”). “State law also
 determines when the statute of limitations begins to run on state claims.”
 Norco Const., Inc. v. King Cty., 801 F.2d 1143, 1145 (9th Cir. 1986) (stated
 in contrast to the often-cited § 1983 context, where state limitations
 periods and federal accrual rules apply).

                                       62
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 63 of 86   PageID #:
                                    4060


 importantly, laches cannot bar an action for violations that

 occurred within that three-year window.         Id. at 671, 677-79.

             The WGS Companies argue that the separate-accrual rule

 does not apply here, where the gravamen of the First Amended

 Complaint is a dispute over the ownership of publicity rights,

 not an infringement action.       The Ninth Circuit explained and

 adopted the distinction in the copyright case Seven Arts Filmed

 Entertainment Ltd. v. Content Media Corp. PLC, 733 F.3d 1251

 (9th Cir. 2013):     “For ordinary claims of copyright

 infringement” where “ownership is not in dispute,” “each new

 infringing act causes a new claim to accrue.”         Id. at 1254.     But

 where the defendant “concedes it is exploiting the pictures, but

 denies that [the plaintiff] owns the copyrights,” then the

 limitations period will “accrue only once, when plain and

 express repudiation of co-ownership is communicated to the

 claimant.”    Id. (internal quotation marks and citation omitted).

 Where both ownership and infringement claims are brought, the

 ownership claim must be timely in order to bring the

 infringement claim.     Id. at 1255.

             Because the parties’ dispute is, at bottom, an

 ownership dispute, the Court holds that the accrual rule in




                                     63
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 64 of 86   PageID #:
                                    4061


 Seven Arts governs.     Thus, the limitations periods began to run

 here when Collins LLC discovered the allegedly wrongful conduct.

             The Ninth Circuit has analogized the ownership rules

 articulated in Seven Arts as a type of adverse possession in the

 context of copyright:      “Copyright, like real estate, lasts a

 long time, so stability of title has great economic importance.”

 Zuill v. Shanahan, 80 F.3d 1366, 1370 (9th Cir. 1996).           And

 although Petrella spoke favorably of “allow[ing] a copyright

 owner to defer suit until she can estimate whether litigation is

 worth the candle” in the context of infringement, 572 U.S. at

 683, the Ninth Circuit has explicitly considered and rejected

 that same logic in the context of ownership disputes, noting

 “the burden and deterrent to development and marketing by a co-

 owner.”   Zuill, 80 F.3d at 1370.        These considerations weigh

 strongly in the present case where Plaintiff seeks to upset the

 stability of title that the Sailor Jerry rum brand has asserted

 for approximately twenty years, and that the WGS Companies

 themselves have asserted with Mrs. Collins’ knowledge for ten

 years.    Reply supporting Laches Motion at 5 (noting the ten-year

 delay since “Plaintiff ‘discovered’ Defendants’ adverse

 ownership” and arguing that “[w]hat Plaintiff characterizes as

 ‘continuing infringement’ is continuous, open exercise of

 ownership”).




                                     64
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 65 of 86    PageID #:
                                    4062


             This approach also aligns with the approach taken to

 ongoing violations in the context of the Lanham Act for which,

 like the claims at issue here, Congress did not enact a

 statutory limitations period.        Jarrow Formulas, 304 F.3d at 837

 (finding that even though “[f]or many Lanham Act claims, the

 alleged violations are ongoing,” “the presumption of laches is

 triggered if any part of the claimed wrongful conduct occurred

 beyond the limitations period”).

             This dispute is clearly one of ownership rights.               The

 WGS Companies concede—and could not earnestly contest—that they

 are using the Sailor Jerry IP for their brand, but the WGS

 Companies assert that they own that IP.          Collins LLC, on the

 other hand, alleges that it is the sole owner of the Sailor

 Jerry IP and seeks a declaratory judgment that the WGS Companies

 have no right or interest in Sailor Jerry’s publicity rights, an

 injunction permanently barring the WGS Companies from using

 Sailor Jerry’s name or image, and disgorgement of all the WGS

 Companies’ profits obtained therefrom.          Compl. at 19-20.

 Applying the accrual rules for ownership disputes, any

 limitations period was triggered at latest when Collins LLC

 discovered the WGS Companies’ use of Collins LLC’s purportedly

 exclusive IP interest in 2009. 25/


       25/Both parties have focused on Mrs. Collins’ knowledge of the WGS
 (Continued . . .)


                                      65
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 66 of 86    PageID #:
                                    4063


             Collins LLC argued at the hearing that Seven Arts does

 not apply because, unlike that case, the parties here did not

 have a prior close relationship.          According to Collins LLC, the

 Seven Arts logic makes sense only where there is a close

 relationship because in that context, repudiation clearly puts

 the opposing party on notice of an ownership dispute.             Since

 Mrs. Collins had no prior relationship with the WGS Companies,

 Collins LLC argues that Mrs. Collins’ discovery of Sailor Jerry

 rum in 2009 did not put her on notice that the WGS Companies

 were actually claiming to own the Sailor Jerry IP.

             The same issue was raised in Seven Arts itself.           The

 plaintiff there argued that the express repudiation rule did not

 apply because the parties were not in a “close relationship,”

 but instead involved use by a “putative downstream, third party

 licensee.”    733 F.3d at 1256.      The Ninth Circuit acknowledged

 that applying the express repudiation “accrual rule to encompass

 claims against those who are not in a close relationship could



 Companies’ use of the Sailor Jerry IP. The WGS Companies argue in their
 motion that Mrs. Collins’ laches are imputed to Collins LLC. Laches Motion
 at 22. Collins LLC has not contested the issue. The Court therefore
 understands the parties to agree Mrs. Collins’ discovery of the WGS
 Companies’ use of the Sailor Jerry IP binds Collins LLC. See Gillons v.
 Shell Co. of California, 86 F.2d 600, 605 (9th Cir. 1936) (“Generally
 speaking, plaintiff is barred from relief by the laches of one with whom he
 stands in privity, as . . . an assignee by that of his assignor.” (internal
 quotation marks omitted)); Brown v. Bishop Tr. Co., 44 Haw. 385, 402, 355
 P.2d 179, 187–88 (1960) (“Knowledge of the conduct giving rise to the
 complainant’s cause of action may be imputed to the complainant by reason of
 an opportunity to acquire knowledge or because of circumstances of which he
 was cognizant, such as obvious and unconcealed activities affecting the
 property in dispute.” (internal quotation marks and citation omitted)).

                                      66
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 67 of 86    PageID #:
                                    4064


 introduce uncertainty,” but concluded that it “need not decide

 which rule applies to suits against unknown third parties”

 because in that case, the parties’ “predecessors-in-interest

 were in the sort of ‘close relationship’ envisioned” by the case

 law.    Id.

               Here too, the parties’ predecessors-in-interest had a

 type of “close relationship.”        The original oral contract on

 which the ownership dispute is here based was between Mrs.

 Collins, Sailor Jerry’s wife, and Malone, Sailor Jerry’s mentee.

 Mrs. Collins chose to sell to Malone because she wanted “to give

 those who Jerry admired the opportunity to buy his business.” 26/

 In fact, the nature of the parties’ relationship is one of the

 several ways on which Mrs. Collins was put on notice of the

 present dispute:      Hellenbrand (Malone’s girlfriend at the time

 of the oral contract, who put down the initial deposit for the

 purchase) contacted Mrs. Collins to inform her that Sailor

 Jerry’s image was on a rum bottle.

               Regardless, the Ninth Circuit’s reservations in

 distinguishing parties with a type of “close relationship” from



        26/
          Mrs. Collins wrote in a letter seeking to contact Malone that she
 “would like to give those who Jerry admired the opportunity to buy his
 business,” and noted that she “plan[ned] to sell everything to one person
 rather than split it up and sell piece-meal.” Laches Motion, CSF ¶ 5 (citing
 Ex. 8); see also Opp. to Laches Motion, CSF, ECF No. 113 (admitting same).
 Mrs. Collins further testified that she sold to Malone, not because he
 offered the best price, but because “the main thing was I think it was better
 that someone that [Sailor Jerry] had mentored had the shop.” Collins. Dep.
 at 100.

                                      67
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 68 of 86   PageID #:
                                    4065


 “unknown third parties” are based on issues of notice.           Here,

 Mrs. Collins was plainly on notice of the WGS Companies’

 widespread use of Sailor Jerry’s name and image on the rum

 bottle.   Mrs. Collins saw an image of the bottle in a

 restaurant; located the bottle at a local drugstore; attended a

 tattoo convention where the WGS Companies had “the biggest

 display there” for Sailor Jerry rum, Collins. Dep. at 69; had a

 telephone conversation with Hellenbrand and Hellenbrand’s

 attorney regarding the WGS Companies’ use of Sailor Jerry’s

 image on the rum bottle; and stated that she believed the WGS

 Companies’ use constituted identity theft.

             Finally, although Seven Arts itself declined to reach

 the issue of “unknown third parties,” subsequent courts apply

 the ownership versus infringement claim distinction without

 reference to any “close relationship” requirement.          See, e.g.,

 Consumer Health Info. Corp. v. Amylin Pharm., Inc., 819 F.3d

 992, 997 (7th Cir. 2016) (citing Seven Arts and concluding,

 without reference to any close relationship requirement, that it

 was “persuaded by the unanimous line of cases from our sister

 circuits” and holding that “when the gravamen of a copyright

 suit is a question of copyright ownership, the claim accrues

 when the ownership dispute becomes explicit—that is, when the

 claimant has notice that his claim of ownership is repudiated or

 contested”); Latin Am. Music Co., Inc. v. Spanish Broad. Sys.,

                                     68
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 69 of 86   PageID #:
                                    4066


 Inc., 232 F. Supp. 3d 384, 389 (S.D.N.Y. 2017), aff’d, 738 F.

 App’x 722 (2d Cir. 2018) (holding, without reference to any

 close relationship requirement, that “[a]n ownership claim

 accrues only once, when a reasonably diligent plaintiff would

 have been put on inquiry [notice] as to the existence of a

 right” (internal quotation marks and citation omitted; brackets

 in original)).

             Here, Collins LLC’s claims are, at bottom, about its

 ownership of publicity rights and the requisite considerations

 in the analogous copyright ownership context have already been

 weighed by the Ninth Circuit.       In fact, Collins LLC itself

 relies first and foremost on analysis of copyright law.

             As explained in Seven Arts,

             It is inequitable to allow the putative co-owner to
             lie in the weeds for years after his claim has been
             repudiated, while large amounts of money are spent
             developing a market for the copyrighted material,
             and then pounce on the prize after it has been
             brought in by another’s effort.

 733 F.3d at 1255 (quoting Zuill, 80 F.3d at 1370-71).

             Accordingly, the Court here finds that the limitations

 period began to run in 2009.       Because either the two- or six-

 year limitations period expired prior to Collins LLC’s filing of

 this lawsuit in 2019, a presumption of laches applies.




                                     69
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 70 of 86   PageID #:
                                    4067


          d. Collins LLC Unreasonably Delayed in Bringing Claims

             The first component of a laches defense is Collins

 LLC’s unreasonable delay in bringing its claims.          “When

 evaluating the reasonableness of a delay, the evaluation period

 begins when the plaintiff knew (or should have known) of the

 allegedly infringing conduct, and ends with the initiation of

 the lawsuit in which the defendant seeks to invoke

 the laches defense.”     Evergreen Safety, 697 F.3d at 1226.          To

 determine reasonableness, courts will look to what caused the

 delay.   “Delay has been held permissible for a variety of

 reasons, such as when delay is required by an exhaustion of

 remedies through an administrative process, when it is used to

 evaluate and prepare a complicated claim, or when its purpose is

 to determine whether the scope of proposed infringement will

 justify the cost of litigation.”         Id. at 1227 (internal

 quotation marks and citation omitted).         “By contrast, delay is

 impermissible when its purpose is to capitalize on the value of

 the alleged infringer’s labor, by determining whether the

 infringing conduct will be profitable.”         Danjaq LLC v. Sony

 Corp., 263 F.3d 942, 954 (9th Cir. 2001).

             Collins LLC concedes that Mrs. Collins learned of

 Sailor Jerry rum in 2009.      Opp. to Laches Motion at 21.          This

 lawsuit was filed in June 2019.       ECF No. 1-2.    As already

 discussed, any relevant statute of limitations has expired, and

                                     70
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 71 of 86   PageID #:
                                    4068


 Collins LLC has not overcome the presumption that laches

 applies.

             Collins LLC’s sole argument on this point is that,

 when Mrs. Collins discovered Sailor Jerry rum in 2009, she was

 under the “mistaken belief that she did not have a claim,” and

 it was not until 2018 “that she found lawyers who could apprise

 her of her rights.”     Opp. to Laches Motion at 21-22.        But Mrs.

 Collins acknowledges that she believed the WGS Companies’ use of

 the Sailor Jerry IP constituted identity theft and contacted

 several attorneys upon her discovery, although she did not

 ultimately retain counsel.      Mrs. Collins also participated in a

 three-way call with Hellenbrand and Hellenbrand’s attorney

 regarding the use of Sailor Jerry’s artwork on the bottle of

 rum.   Regardless, laches begins to run when a party is aware of

 the allegedly infringing conduct, not when a party is aware it

 had a legal cause of action.

             In Evergreen Safety, the court found the laches period

 began to run when the plaintiff received a letter containing

 reference to the alleged infringement even though the party

 claimed not to have opened that letter until nearly twelve years

 later.   697 F.3d at 1227.     The court concluded the plaintiff’s

 ten-year delay between receipt of the unopened letter and filing

 its lawsuit constituted unreasonable delay.         See also Crews v.

 Prudential Ins. Co. of Am., No. CIV. 14-00009 ACK, 2015 WL

                                     71
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 72 of 86   PageID #:
                                    4069


 1646935, at *6 (D. Haw. Apr. 13, 2015) (finding the plaintiff

 had unduly delayed when there was “no dispute of material fact

 that Plaintiff knew or should have known . . . about the

 existence of his FSGLI claim, but failed to inquire about it for

 ten years.”).

             Further, Hawaii law makes clear that, under the

 discovery rule, limitations periods begin to run when a

 plaintiff has knowledge of all facts supporting her claim; “[i]t

 does not delay the start of the limitations period until the

 plaintiff learns of the legal duty upon which he or she may base

 a cause of action.”     Hays v. City & Cty. of Honolulu, 81 Haw.

 391, 398, 917 P.2d 718, 725 (1996).        To hold otherwise “would

 allow plaintiffs to indefinitely delay the start of the

 limitations period until they seek the advice of an attorney.”

 Id.   Like in the limitations context, Collins LLC’s delay cannot

 be justified by ignorance of the law, when Collins LLC had

 knowledge of the relevant facts supporting its claim.

             Because the Court concludes hereinafter that pursuant

 to Collins LLC’s Rule 56(d) request it is entitled to additional

 time to conduct limited discovery on its unclean hands defense,

 the Court now defers making any ruling whether or not the WGS

 Companies have shown unreasonable delay.

             The Court next considers prejudice to the WGS

 Companies.

                                     72
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 73 of 86    PageID #:
                                    4070


          e. The WGS Companies Were Prejudiced by Collins LLC’s
             Delay

             The second component of a laches defense is prejudice.

 The Ninth Circuit categorizes two types of prejudice that can

 give rise to laches:      expectations-based prejudice and

 evidentiary prejudice.      Eat Right Foods, 880 F.3d at 1119.

 “Expectations-based prejudice exists where a defendant took

 actions or suffered consequences that it would not have, had the

 plaintiff brought suit promptly,” while “[e]videntiary prejudice

 exists where a plaintiff’s delay has led to lost, stale, or

 degraded evidence, or witnesses whose memories have faded, or

 who have died.”     Id. at 1119-20.       With either type of prejudice,

 the Ninth Circuit emphatically requires that the prejudice

 occurred during the plaintiff’s delay, not prior. 27/          Id. at

 1120.

             The WGS Companies here submit significant evidence of

 prejudice, particularly in the form of their considerable

 investment in the Sailor Jerry Rum brand since 2009.            The WGS

 Companies also cite a limited ability to adequately defend their

 position due to an evidentiary prejudice from the passage of

 time.



       27/ Hawaii case law indicates the same requirement. Poka v. Holi, 44
 Haw. 464, 357 P.2d 100, 107 (1960) (“Equitable relief will be refused when,
 during inexcusable delay, the evidence has become obscured and, under the
 circumstances of the case, it is too late to ascertain the merits of the
 controversy.” (emphasis added)).

                                      73
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 74 of 86    PageID #:
                                    4071


                 1. Expectations-Based Prejudice

             The WGS Companies’ investment in Sailor Jerry rum has

 increased the value of the subject rights, caused a change the

 WGS Companies’ position, and involved intervening rights of

 third parties.

             The WGS Companies submit evidence that they invested

 approximately £169.4 million between 2009 and 2018 into

 advertising the Sailor Jerry brand.         Laches Motion, Rochford

 Decl. ¶¶ 5-9.    As a result, the Sailor Jerry rum brand has

 increased dramatically in value.         Id. at ¶ 11.   Further, the WGS

 Companies’ position has been altered by virtue of the now-

 expired contractual indemnities they obtained in purchasing the

 rights to the Sailor Jerry IP from Sailor Jerry Limited; certain

 of which expired in 2010 and certain of which expired in 2018.

 Laches Motion, CSF, Ex. 3 (WG&S Purchase Agreement §§ 2.1(c);

 3.8(b); 3.8(f); 13.1(a); 13.3(a); 13.3(c); Schedule 1).              And,

 during Collins LLC’s delay, third party collaborators and

 distributors have contracted with the WGS Companies for certain

 rights relating to the Sailor Jerry rum brand, including

 sponsorships, merchandise, and distribution rights.          Laches

 Motion, CSF, Yusen Decl. ¶¶ 15-17.         The WGS Companies would be

 unable to perform under those contracts if Collins LLC prevails.

 Id. at ¶ 17.




                                     74
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 75 of 86   PageID #:
                                    4072


             Collins LLC responds that the WGS Companies had been

 marketing Sailor Jerry rum for ten years prior to Mrs. Collins’

 discovery of the product, and the WGS Companies continued

 production thereafter was therefore not detrimental.           Collins

 LLC also contends that because the WGS Companies made a profit

 during the ten-year delay, it cannot have been financially

 prejudiced.    Finally, Collins LLC argues that the WGS Companies

 should have known that their ownership rights in the Sailor

 Jerry IP were “questionable,” and thus any prejudice is not

 attributable to Collins LLC but rather the WGS Companies’ own

 fault.

             None of these arguments are viable.       That the WGS

 Companies had already invested in the Sailor Jerry brand prior

 to the period of delay does nothing to negate the substantial

 investment they undertook during the period of delay.           Nor does

 the fact the WGS Companies profited from their investment

 (profits that Collins LLC now seeks for itself) undermine that

 the WGS Companies are now facing prejudice for having done so.

 Absent Collins LLC’s delay, the WGS Companies may have invested

 those same funds to grow a different brand.         But operating under

 the assumption they were permissibly using the purchased Sailor

 Jerry IP, the WGS Companies invested in the Sailor Jerry brand—

 investments that would now prove detrimental if Collins LLC’s

 lawsuit is successful.      Finally, Collins LLC’s averment that the

                                     75
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 76 of 86    PageID #:
                                    4073


 WGS Companies should have questioned the asserted ownership

 interest is unconvincing, where Sailor Jerry rum had been widely

 marketed effectively without question for nearly twenty years

 prior to this lawsuit.      The only apparent issue of ownership

 during that time was Hellenbrand’s claim of a partial ownership

 interest, but Hellenbrand’s letters to the WGS Companies state

 that “Ms. Hellenbrand along with Michael Malone, became owners

 of the Sailor Jerry tattoo business and all related intellectual

 property in 1973,” thereby underscoring the validity of the WGS

 Companies’ purchase from Malone.          Collins LLC also submits an

 email sent to the WGS Companies’ predecessor in 2004 relating to

 the Sailor Jerry IP, but that email chastises the use of the

 Sailor Jerry IP on “shoddy merchandise” rather than undermining

 the ownership interest itself. 28/        Opp. to Laches Motion, CSF,

 Ex. 6.

                 2. Evidentiary Prejudice

             The WGS Companies’ evidentiary prejudice is more

 limited.    The WGS Companies emphasize Malone’s death, but Malone

 died in 2007.     His death did not occur during the period of



       28/The email does conclude by stating that Hellenbrand has letters from
 Sailor Jerry in which he apparently spoke negatively about Hardy.
 Hellenbrand states, “These letters may well have an impact on how the world
 perceives the ‘rights’ you and your company may allegedly hold.” Pl’s. Opp.
 to Laches Motion, CSF, Ex. 6. But that email begins by stating, “I purchased
 [Sailor Jerry’s] estate with Michael Malone when Jerry died.” Id. The 2004
 email, in this regard, aligns with the content of the 2009 letter to the WGS
 Companies, asserting that both Malone and Hellenbrand had an interest in the
 Sailor Jerry IP.

                                      76
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 77 of 86   PageID #:
                                    4074


 delay, which began in 2009.       Eat Right Foods, 880 F.3d at 1120

 (evidentiary prejudice considers events during the plaintiff’s

 delay).

             The WGS Companies next argue that Mrs. Collins has a

 faulty memory given her misunderstanding of the 1973 probate.

 Mrs. Collins filed a petition for determination of heirs in 2018

 in which she asserted that Sailor Jerry’s estate was never

 probated, despite the fact the estate had indeed been probated

 in 1973.    Mrs. Collins indicated that she did not understand the

 full legal impact of the 1973 probate.        Laches Motion at 11, 13.

 The Court is not convinced, however, that Mrs. Collins had any

 better understanding of the 1973 probate in 2009, as opposed to

 in 2018.    That is to say, while the Court acknowledges that some

 depreciation in all relevant witness’ memories has undoubtedly

 occurred since 1973, the WGS Companies have not shown any

 particular additional depreciation during the ten-year delay at

 issue.    This causes only limited prejudice.

             The WGS Companies also reference the deaths of two

 “[k]ey managers of Defendants’ acquisition of Sailor Jerry Rum

 and related IP.”     Laches Motion at 12.     But the WGS Companies do

 not make clear what unique information those managers would

 have.    This is especially true if, as the WGS Companies

 repeatedly argue, the emphasis is on the 1973 oral contract




                                     77
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 78 of 86   PageID #:
                                    4075


 rather than the WGS Companies’ decades-later purported purchase

 of Sailor Jerry IP.     The extent of this prejudice is limited.

             In sum, the WGS Companies suffered considerable

 expectations-based prejudice and some limited evidentiary

 prejudice from Collins LLC’s laches.        Collins LLC argues, even

 so, that the WGS Companies cannot invoke laches because they

 have unclean hands.

          f. Unclean Hands

             Collins LLC argues that the Court is precluded from

 granting summary judgment at this time because material factual

 issues remain as to whether the WGS Companies have unclean

 hands.   Opp. to Laches Motion at 23-24.        “The unclean hands

 doctrine closes the doors of a court of equity to one tainted

 with inequitableness or bad faith relative to the matter in

 which he seeks relief.”      Jarrow Formulas, 304 F.3d at 841

 (internal citation and quotation marks omitted).          “[O]nly a

 showing of wrongfulness, willfulness, bad faith, or gross

 negligence, proved by clear and convincing evidence, will

 establish sufficient culpability for invocation of the doctrine

 of unclean hands.”     Pinkette Clothing, Inc. v. Cosmetic Warriors

 Ltd., 894 F.3d 1015, 1029 (9th Cir. 2018) (quoting Pfizer, Inc.

 v. Int’l Rectifier Corp., 685 F.2d 357, 359 (9th Cir. 1982));

 see also Straub v. Cty. of Maui, No. CV 17-00516 JMS-WRP, 2019

 WL 5088738, at *13 (D. Haw. Oct. 10, 2019) (“Under federal law,

                                     78
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 79 of 86   PageID #:
                                    4076


 to prevail on a defense of unclean hands a defendant must

 demonstrate by clear and convincing evidence: (1) that the

 plaintiff’s conduct is inequitable; and (2) that the conduct

 relates to the subject matter of [the plaintiff’s]

 claims.” (internal quotation marks and citations omitted)).

             The WGS Companies point to Adair as having rejected,

 in Hawaii, the doctrine of unclean hands as applicable to a

 laches defense.     Reply supporting Laches Motion at 12-13.         But

 the Court applies federal equitable principles under which

 unclean hands applies to a laches defense.         Sonner, 962 F.3d at

 1078; Jarrow Formulas, 304 F.3d at 841.

             The WGS Companies next argue that Collins LLC has

 presented no evidence of unclean hands.         The Court agrees that,

 on the facts before it, Collins LLC has not shown unclean hands.

 Collins LLC cites to Hellenbrand contacting the WGS Companies’

 predecessors in 2004 and the WGS Companies in 2009, but

 Hellenbrand only asserted her own claimed interest in the Sailor

 Jerry IP (rather than that of Mrs. Collins or Collins LLC’s

 other members).     And Hellenbrand informed the WGS Companies that

 “Ms. Collins indicated that she assigned the rights to Mr.

 Malone and Ms. Hellenbrand.”       Laches Motion, CSF, Ex. 5.

 Because the WGS Companies assert that they are successors-in-

 interest to Malone, Hellenbrand’s letters support their interest

 as legitimate (if not exclusive).        Collins LLC argues that the

                                     79
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 80 of 86    PageID #:
                                    4077


 WGS Companies did not conduct sufficient diligence because they

 did not contact Mrs. Collins; while the WGS Companies counter

 with their reliance on ten years of open use, coupled with

 Malone’s affidavit of ownership, and Mrs. Collins’ admission

 that she never contacted the WGS Companies. 29/

             But Collins LLC’s inability to bring forward evidence

 of unclean hands may well be due to the stay of discovery the

 WGS Companies sought and obtained immediately after filing its

 dispositive motions.      Because of that stay, Collins LLC has been

 prevented from conducting virtually any discovery.            As discussed

 next, the Court finds that Collins LLC is entitled to an

 opportunity to conduct the discovery necessary to make its case.

          g. Collins LLC’s Rule 56(d) Request

             Collins LLC moves for a Rule 56(d) delay in any ruling

 and for permission to conduct discovery.

             Under Rule 56(d), a district court may postpone ruling

 on a summary judgment motion to allow for further discovery

 where the non-moving party needs “additional discovery to

 explore facts essential to justify the party’s opposition.”


       29/ Collins LLC states in passing that Malone’s 2003 affidavit is

 inadmissible. Opp. to Laches Motion at 17 (“Malone had no documentation of
 the 1973 sale until he created a self-serving (and inadmissible) affidavit”).
 Collins LLC does not state the basis for its inadmissibility claim. Because
 the Court ultimately grants Collins LLC’s Rule 56(d) request for additional
 time to complete discovery and accordingly denies the Laches Motion at this
 juncture, the Court need not resolve the issue here. If the issue comes
 before the Court again and Collins LLC wants the Court to disregard the
 affidavit as inadmissible evidence, it should explain the basis for that
 objection and permit the WGS Companies an opportunity to respond.

                                      80
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 81 of 86   PageID #:
                                    4078


 Jones v. Blanas, 393 F.3d 918, 930 (9th Cir. 2004).          “A party

 seeking additional discovery under Rule 56(d) must explain what

 further discovery would reveal that is essential to justify its

 opposition to the motion for summary judgment.”          Stevens v.

 Corelogic, Inc., 899 F.3d 666, 678 (9th Cir. 2018) (internal

 quotation marks and citation omitted).        “In particular, the

 requesting party must show that: (1) it has set forth in

 affidavit form the specific facts it hopes to elicit from

 further discovery; (2) the facts sought exist; and (3) the

 sought-after facts are essential to oppose summary judgment.”

 Id. (emphasis in original).

             “The burden is on the party seeking additional

 discovery to proffer sufficient facts to show that the evidence

 sought exists, and that it would prevent summary judgment.”

 Emp’rs Teamsters Local Nos. 175 & 505 Pension Trust Fund v.

 Clorox Co., 353 F.3d 1125, 1129-30 (9th Cir. 2004) (citation

 omitted).    A district court may “deny further discovery if the

 movant has failed diligently to pursue discovery in the past, or

 if the movant fails to show how the information sought would

 preclude summary judgment.”       Id. at 1130 (citation omitted).

             Collins LLC argues that it needs additional discovery

 to oppose the motion for summary judgment on laches in three

 crucial areas.    First, it argues that it needs information as to

 the due diligence conducted by the WGS Companies prior to

                                     81
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 82 of 86   PageID #:
                                    4079


 building the Sailor Jerry brand in order to support its

 arguments that the WGS Companies suffered no prejudice and have

 unclean hands.    Opp. to Laches Motion at 24.       Second, Collins

 LLC argues that it needs full financial information for the

 alleged period of delay in bringing this suit—2009 until 2019—to

 dispute the WGS Companies’ assertion of prejudice, as well as

 information pertaining to the third-party contracts that the WGS

 Companies asserts were impacted due to Collins LLC’s delay.            Id.

 at 25.    Third, Collins LLC argues that it needs information

 pertaining to any investigation the WGS Companies undertook in

 relation to Hellenbrand’s claim that Malone lacked ownership of

 the Sailor Jerry IP, and the contractual protections between the

 WGS Companies and their predecessors.        Id. at 25.    Collins LLC

 adequately specifies particular facts it hopes to obtain in

 discovery, and because it points to routine business documents

 and communications, Collins LLC has made a sufficient showing

 that such facts likely exist.

             The Court reaches this holding cognizant of the

 strictly limited discovery that has thus far occurred in this

 case.    The WGS Companies filed their dispositive motions three

 months after removing the case to federal court, and

 simultaneously sought a stay of all discovery until those

 motions were decided.      ECF Nos. 1, 19, 20, 25, 28.      The




                                     82
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 83 of 86   PageID #:
                                    4080


 magistrate judge granted that stay, and discovery has largely

 come to a halt since.      ECF No. 39, 57; see also ECF No. 74.

             Thereafter, Collins LLC sought (and was ultimately

 granted) leave to file an amended complaint.         ECF No. 81.     The

 First Amended Complaint added some additional facts, removed a

 prior unfair competition claim, and added a new common law

 invasion of privacy claim.      See ECF No. 82.     The Court therefore

 administratively withdrew the WGS Companies’ pending motions and

 instructed the WGS Companies to file new motions covering the

 amended claims.     ECF No. 84.    All parties apparently understood

 the magistrate judge’s discovery stay to remain in effect

 despite the Court’s administrative withdrawal of the prior

 motions on which the stay was based.

             The Court cannot criticize Collins LLC’s diligence

 with regard to discovery.      Collins LLC not only opposed the

 motion to stay, it further sought ex parte reconsideration; upon

 denial, it separately sought a hearing on its motion for

 reconsideration; and, upon denial, apparently attempted to at

 least pursue third-party discovery initiated prior to the stay.

 ECF Nos. 42, 43, 52, 65, 70.       All of these efforts were stymied.

             In his order granting the stay, the magistrate judge

 suggested that “Defendants’ Dispositive Motions have the

 potential to either eliminate or reduce the scope of discovery,”

 and he explicitly did not restrict Collins LLC’s ability to seek

                                     83
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 84 of 86    PageID #:
                                    4081


 Rule 56(d) relief.      ECF No. 57.    The magistrate judge’s

 predictions have been borne out:           the Court here grants Rule

 56(d) relief, but does so on substantially narrowed claims.

              The Court GRANTS Collins LLC’s Rule 56(d) request to

 the extent that Collins LLC has not had an opportunity to

 conduct discovery on the issue of whether unclean hands bars the

 application of laches.      The request was only made in opposition

 to the Laches Motion, and it is therefore only granted in that

 regard.     The Court will allow Collins LLC four months from the

 issuance of this Order to conduct the specified discovery. 30/

             The Court DENIES the Rule 56(d) request to the extent

 that it seeks discovery regarding the WGS Companies’ third-party

 contracts and the WGS Companies’ full financial information.

             Because the Court has granted in part the Rule 56(d)

 request, it accordingly DENIES the Laches Motion at this time.



                                  CONCLUSION

              The Court:

              (1)   Based on its aforesaid findings, concludes that

                    the HPRA does not operate retrospectively against

                    the WGS Companies and accordingly the Court

                    GRANTS the WGS Companies’ Motion for Partial



       30/Accordingly, the current dispositive motions deadline of October 7,
 2020, is extended to January 29, 2021.

                                       84
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 85 of 86   PageID #:
                                    4082


                   Summary Judgment as to its Counterclaim Count Two

                   (Non-Retrospectivity of the Hawaii Publicity

                   Rights Act), ECF No. 92;

             (2)   GRANTS the WGS Companies’ Motion for Judgment on

                   the Pleadings as to Count Four of the First

                   Amended Complaint, unjust enrichment, ECF No. 91

                   and DISMISSES Count Four of the First Amended

                   Complaint without prejudice; and

             (3)   DENIES the WGS Companies’ Motion for Summary

                   Judgment on Laches as to all four counts of the

                   First Amended Complaint, ECF No. 89, on the basis

                   that it GRANTS IN PART Collins LLC’s Rule 56(d)

                   request for additional time to conduct discovery

                   on its “unclean hands” defense, and affords

                   Collins LLC an additional four months to conduct

                   discovery thereon.



             Because Collins LLC may be able to cure the pleading

 defects in Count Four of the First Amended Complaint via

 amendment, leave to amend is granted.        Any second amended

 complaint must be filed within thirty days of the issuance of

 this Order and should comply with the guidance and standards set

 forth herein.     The Court cautions Collins LLC that if it fails

 to file its second amended complaint within thirty days of the

                                     85
Case 1:19-cv-00386-ACK-RT Document 126 Filed 07/17/20 Page 86 of 86   PageID #:
                                    4083


 issuance of this Order, or, if a claim in the second amended

 complaint fails to cure the defects identified in this Order,

 the Court will dismiss Collins LLC’s unjust enrichment claim

 with prejudice.      The Court emphasizes that it has not granted

 Collins LLC leave to make other changes, such as adding new

 parties or entirely new claims.       Leave to amend is limited to

 curing the defects described in this Order.         If Collins LLC

 wishes to make further amendments not within the scope of leave

 provided in this Order, it must file a motion for leave to amend

 pursuant to Rule 15(a)(2) and Local Rule 10.4.



             IT IS SO ORDERED.

             DATED:    Honolulu, Hawai`i, July 17, 2020.




                                       ________________________________
                                       Alan C. Kay
                                       Sr. United States District Judge


 N.K. Collins, LLC v. William Grant & Sons, Inc. et al., Civ. No.
 19-00386 ACK-RT, Order Granting Defendant’s Motion for Partial
 Summary Judgment and Judgment on the Pleadings, and Denying
 Defendants’ Motion for Summary Judgment.




                                     86
